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 9

10   Attorneys for Defendant
     PAPA, INC.
11

12
                                  UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15
     JENNIFER PARDO AND EVANGELINE                  CASE NO. 3:21-cv-06326-RS
16   MATTHEWS, individually, and on behalf of all
     others similarly situated,                     DECLARATION OF ELLEN BRONCHETTI
17                                                  IN SUPPORT OF DEFENDANT’S
                   Plaintiffs,                      OPPOSITION TO PLAINTIFFS’ MOTION
18                                                  FOR CLASS CERTIFICATION
     v.
19                                                  Trial Date: None
     PAPA, INC.
20
                   Defendant.
21

22

23

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                                                 1
          DECLARATION OF ELLEN BRONCHETTI IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’
                                   MOTION FOR CLASS CERTIFICATION
 1                                DECLARATION OF ELLEN BRONCHETTI

 2          I, ELLEN M. BRONCHETTI, declare as follows:

 3          1.       I am an attorney at law duly licensed to practice before this court. I am a shareholder at

 4   Greenberg Traurig, LLP, attorneys of record for Defendant PAPA, Inc. (“Defendant”)

 5          2.       If called as a witness, I could and would competently testify to all facts within my personal

 6   knowledge except where stated upon information and belief.

 7          3.       This declaration is submitted in support of Defendant’s Opposition to Plaintiffs’ Motion for

 8   Class Certification.

 9          4.       On December 15, 2023, Plaintiffs’ counsel took the deposition of Defendant’s Person Most

10   Qualified, Dani Bchara. True and correct copies of the relevant excerpts of the deposition of Mr. Bchara

11   are attached hereto as Exhibit 1.

12          5.       On October 3, 2023, Defendant’s former counsel took the deposition of Plaintiff Jennifer

13   Pardo. True and correct copies of the relevant excerpts of the deposition of Ms. Pardo are attached hereto

14   as Exhibit 2.

15          6.       On September 16, 2024, I took the deposition of Plaintiff Evangeline Matthews. True and

16   correct copies of the relevant excerpts of the deposition of Ms. Matthews are attached hereto as Exhibit 3.

17          7.       On August 26, 2024, Priscilla Hoyt, a person who uses Defendant’s App to provide certain

18   non-medical support tasks and companionship (called, a “Pal”), executed a declaration in support of

19   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

20   declaration of Ms. Hoyt is attached hereto as Exhibit 4.

21          8.       On August 27, 2024, Kellie Hynds, a current Pal, executed a declaration in support of

22   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

23   declaration of Ms. Hynds is attached hereto as Exhibit 5.

24          9.       On August 28, 2024, Sandra Rodriguez, a current Pal, executed a declaration in support of

25   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

26   declaration of Ms. Rodriguez is attached hereto as Exhibit 6.

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                                                2
         DECLARATION OF ELLEN BRONCHETTI IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’
                                  MOTION FOR CLASS CERTIFICATION
 1           10.     On September 11, 2024, Nancy Gonzales, a current Pal, executed a declaration in support

 2   of Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

 3   declaration of Ms. Gonzales is attached hereto as Exhibit 7.

 4           11.     On September 23, 2024, Zerina Gacanovic, a current Pal, executed a declaration in support

 5   of Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

 6   declaration of Ms. Gacanovic is attached hereto as Exhibit 8.

 7           12.     On September 24, 2024, Cassie King, a current Pal, executed a declaration in support of

 8   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

 9   declaration of Ms. King is attached hereto as Exhibit 9.

10           13.     On September 25, 2024, Jennifer Martin, a current Pal, executed a declaration in support of

11   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

12   declaration of Ms. Martin is attached hereto as Exhibit 10.

13           14.     On September 25, 2024, Marsi Haney, a current Pal, executed a declaration in support of

14   Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

15   declaration of Ms. Haney is attached hereto as Exhibit 11.

16           15.     On September 27, 2024, Jenny Maradiaga, a current Pal, executed a declaration in support

17   of Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

18   declaration of Ms. Maradiaga is attached hereto as Exhibit 12.

19           16.     On September 27, 2024, Makayla Johnson, a current Pal, executed a declaration in support

20   of Defendant’s Opposition to Plaintiffs’ Motion for Class Certification. A true and correct copy of the

21   declaration of Ms. Johnson is attached hereto as Exhibit 13.

22           I declare under penalty of perjury, under the laws of the United States, that the foregoing is true and

23   correct, and that this declaration was executed on September 30, 2024.

24
                                                By ____________________________
25                                                 ELLEN M. BRONCHETTI
26

27

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                                                3
         DECLARATION OF ELLEN BRONCHETTI IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’
                                  MOTION FOR CLASS CERTIFICATION
     ACTIVE 702372044v
ǆŚŝďŝƚϭ
                          Dani Bchara
                       December 15, 2023

· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·

· · ·Jennifer Pardo, Evangeline
· · ·Matthews, individually and
· · ·on behalf of all others
· · ·similarly situated,
·
· · · · · · · · · · Plaintiffs,
·
· · ·vs.· · · · · · · · · · · · · · · · CASE NO.
· · · · · · · · · · · · · · · · · · · · 3:21-cv-06326-RD
· · ·Papa, Inc.,
·
· · · · · · · · · · Defendant.
· · ·_______________________________

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· · · · · · ·REMOTE VIDEO DEPOSITION OF DANI BCHARA

· · · · · · · · · · · ·December 15, 2023

· · · · · · · · · · · · · ·8:37 a.m.

· · · · · · · · · · Los Angeles, California

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· · ·Reported By:
· · ·Brandi R. Celestino
· · ·CSR No. 13640
· · ·APPEARING REMOTELY FROM ANAHEIM, CALIFORNIA


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                           Dani Bchara
                        December 15, 2023

·1· ·that correct?

·2· · · ·A· · Yes.

·3· · · ·Q· · Which means before arriving at the visit, the

·4· ·Pal has to make sure to read over the visit tasks and

·5· ·any important notes about the member and the health

·6· ·plan that are provided."

·7· · · · · · That's an expectation that the Pal performs;

·8· ·is that correct?

·9· · · ·A· · That is the guideline or best practice that

10· ·we encourage our Pals to do.

11· · · ·Q· · And expect them to follow; is that correct?

12· · · ·A· · I guess it depends on what you mean by

13· ·"expect them to follow."

14· · · ·Q· · Well, I'm just reading from the document.

15· · · · · · What does Papa mean when it says, "You are

16· ·expected to follow the visit standards below for every

17· ·visit"?· Do you know?

18· · · ·A· · Yes.· These are things that we encourage our

19· ·Pals to do.

20· · · ·Q· · Is your understanding of encouragement

21· ·different than expectation?

22· · · ·A· · Maybe I'm getting too hung up on words.

23· · · ·Q· · They basically mean the same thing to you?

24· · · ·A· · I mean, I think the -- I guess the difference

25· ·would be the -- yeah.· I would call them guidelines.


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                                                                  YVer1f
                          Dani Bchara
                       December 15, 2023

·1· ·document 339, it says, "What happens if I don't follow

·2· ·Papa's visit standards?"

·3· · · · · · And it says, "Failure to follow our visit

·4· ·standards may result in suspension or permit removal

·5· ·from the platform."

·6· · · · · · Is that true?

·7· · · ·A· · Again, it depends.· For the majority of

·8· ·these, there would be no consequence.

·9· · · ·Q· · Why does it not say that here in the FAQ?· Do

10· ·you know?

11· · · ·A· · Well, it does.

12· · · ·Q· · What does it say?· How does it say that?

13· · · ·A· · It says, "May result."

14· · · ·Q· · So your interpretation of that is that

15· ·communicates that there will be no repercussions for

16· ·failing to abide by these standards?

17· · · ·A· · I wouldn't necessarily say that.

18· · · · · · MR. LEBE:· I'm going to take a very quick

19· ·break.· I'm going to talk to my team.· I think this is

20· ·an okay time to suspend the deposition.· I've talked

21· ·to counsel -- I think that was off the record -- about

22· ·a second day, and understanding he's not agreeing to

23· ·anything on the record, but we'll meet and confer, and

24· ·hopefully resolve that without court intervention.· We

25· ·can put anything else we want to put on the record


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                                                                  YVer1f
                           Dani Bchara
                        December 15, 2023

·1· · · · · · · · · · ·REPORTER'S CERTIFICATE

·2· · · · · · ·I, Brandi Celestino, a Certified Shorthand

·3· ·Reporter, do hereby certify:

·4· · · · · · ·That the foregoing proceedings were taken

·5· ·before me at the time and place therein set forth, at

·6· ·which time the witness was put under oath by me;

·7· · · · · · ·That the testimony of the witness, the

·8· ·questions propounded, and all objections and statements

·9· ·made at the time of the examination were recorded

10· ·stenographically by me and were there after transcribed;

11· · · · · · ·That a review of the transcript by the deponent

12· ·was requested;

13· · · · · · ·That the foregoing is a true and correct

14· ·transcript of my shorthand notes so taken.

15· · · · · · ·I further certify that I am not a relative or

16· ·employee of any attorney of the parties, nor financially

17· ·interested in the action.

18· · · · · · ·I declare under penalty of perjury under the

19· ·laws of California that the foregoing is true and

20· ·correct.

21

22· ·Dated:· December 15, 2023

23

24· ·______________________________

25· ·Brandi Celestino


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1                UNITED STATES DISTRICT COURT
2               NORTHERN DISTRICT OF CALIFORNIA
3          _______________________
                                   )
4         JENNIFER PARDO,          )
          Individually and on      )
5         behalf of all others     )
          similarly situated,      )
6                                  )No. 3:21-cv-06326
                     Plaintiff,    )RS
7                                  )
            vs.                    )
8                                  )
          PAPA, INC.,              )
9                                  )
                     Defendant.    )
10        ________________________)
11
12         VIDEOTAPED DEPOSITION OF JENNIFER PARDO
13                 San Lorenzo, California
14                 Tuesday, October 3, 2023
15                         Volume I
16
17
18
19
20
21   Reported by:
     CRYSTAL WHITE
22   CSR No. 13841
23   Job No. 6119705
24
25   PAGES 1 - 124

                                                         Page 1

                         Veritext Legal Solutions
                 Calendar-CA@veritext.com 866-299-5127
1    minutes?                                                        11:57:26AM

2        A.     No.                                                  11:57:26AM

3        Q.     So -- okay.     So you think then they were          11:57:41AM

4    over five minutes long?                                         11:57:45AM

5        A.     Yes, I just don't know the exact time.               11:57:49AM

6        Q.     I understand.      And I'm still gonna get push      11:57:52AM

7    on this a little bit to see if I can get your best              11:57:56AM

8    estimate.        So do you know if they were over ten           11:57:56AM

9    minutes long, any of them?                                      11:57:59AM

10       A.     I would say they were around that range of           11:58:02AM

11   time like the ten minutes.                                      11:58:13AM

12       Q.     Okay.     So they lasted around ten minutes          11:58:15AM

13   each, that is your best estimate?                               11:58:18AM

14       A.     Yes.                                                 11:58:25AM

15       Q.     Do you recall how many visits you actually           11:58:26AM

16   completed through Paps's platform?                              11:58:36AM

17       A.     No.                                                  11:58:39AM

18       Q.     Do you have an estimate?                             11:58:45AM

19       A.     I would say no.      I wasn't keeping track at       11:58:48AM

20   the time.                                                       11:59:10AM

21       Q.     Okay.     We'll look at something in a minute        11:59:10AM

22   that might help, help us figure that out.             But you   11:59:13AM

23   don't have any records of your own that would show              11:59:17AM

24   how many visits you completed?                                  11:59:20AM

25       A.     No, I mean they were definitely on the               11:59:23AM

                                                                     Page 62

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1    visits that you reviewed and then the visits that             12:52:14PM

2    were actually completed.      Do you have any reason          12:52:20PM

3    looking at these today to doubt the accuracy of               12:52:27PM

4    them?                                                         12:52:31PM

5        MR. LEBE:    Objection.    Calls for a legal              12:52:33PM

6    conclusion.                                                   12:52:37PM

7        You can answer.                                           12:52:39PM

8    BY MS. RONEY:                                                 12:52:46PM

9        Q.   Let me know if you need me to scroll up or           12:52:48PM

10   down so you can see everything.                               12:52:51PM

11       A.   I'm sorry, can you repeat the question?              12:53:02PM

12       Q.   Sure.                                                12:53:04PM

13            My question was do you have any reason to            12:53:05PM

14   doubt that these records from Paps's system is                12:53:07PM

15   accurate?                                                     12:53:12PM

16       MR. LEBE:    Calls for a legal conclusion.         Vague. 12:53:13PM

17       THE WITNESS:    No.                                       12:53:19PM

18   BY MS. RONEY:                                                 12:53:20PM

19       Q.   So looking as we're now at the second page,          12:53:22PM

20   which is the one marked Papa 17, the bottom half of           12:53:26PM

21   this page, it shows payments for four visits that             12:53:31PM

22   were completed, would you agree with that?                    12:53:38PM

23       A.   Yes.                                                 12:53:41PM

24       Q.   And does this refresh your memory at all             12:53:46PM

25   about how many visits you completed through Paps's            12:53:52PM

                                                                   Page 67

                                Veritext Legal Solutions
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1    platform?                                                       12:53:56PM

2        MR. LEBE:       Calls for speculation.                      12:53:57PM

3        THE WITNESS:          Yes.                                  12:54:06PM

4    BY MS. RONEY:                                                   12:54:10PM

5        Q.    So would you agree then that you completed            12:54:10PM

6    four visits?       Ms. Pardo, are you still thinking?           12:54:14PM

7        A.    Yes.     So were you -- were you referring to         12:54:55PM

8    like complete visits or -- because I know there was             12:55:22PM

9    many calls.       I know some were -- it was definitely         12:55:28PM

10   more than four.          I don't know if you meant complete     12:55:41PM

11   or --                                                           12:55:46PM

12       Q.    Yeah, so I'm referring to actual visits that 12:55:46PM

13   you completed.                                                  12:55:49PM

14       MR. LEBE:       Is there a pending question?                12:56:00PM

15       MS. RONEY:          I believe so, unless I missed her       12:56:02PM

16   answer.                                                         12:56:05PM

17       Q.    Ms. Pardo, had you answered?            I'm sorry.    12:56:06PM

18       A.    No.     No.     Then the answer is yes.               12:56:08PM

19       Q.    Okay.     And now what I think you were               12:56:15PM

20   referring to, if we go back up to this first page               12:56:18PM

21   and zoom in a little bit so you can see better in               12:56:21PM

22   the fourth column there it shows visit status and               12:56:25PM

23   there's -- there is four or five -- there's five                12:56:28PM

24   visits that showed reviewed and then there's five               12:56:30PM

25   visits that showed terminated.             And I'm assuming     12:56:33PM

                                                                     Page 68

                                     Veritext Legal Solutions
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1    that terminated means those visits were not                     12:56:37PM

2    completed for one reason or another.        Is that -- is       12:56:38PM

3    that what you were thinking of when you said there              12:56:41PM

4    may have been other visits that didn't get                      12:56:45PM

5    completed?                                                      12:56:50PM

6        A.   Yes.                                                   12:56:51PM

7        Q.   And for the other visits that were not                 12:56:51PM

8    completed, is that because you cancelled them?            And   12:56:55PM

9    if you don't recall, that's okay, too.                          12:57:05PM

10       A.   I don't recall.                                        12:57:12PM

11       Q.   But, in any event, there were some visits              12:57:12PM

12   that you had signed up for for one reason or another 12:57:15PM

13   did not end up happening; is that right?                        12:57:18PM

14       A.   Yes.                                                   12:57:20PM

15       Q.   Okay.   And we think that these four visits            12:57:22PM

16   shown on the second page here, these are the ones               12:57:26PM

17   that were actually complete?                                    12:57:29PM

18       A.   Yes.                                                   12:57:30PM

19       Q.   Okay.   Great.    So I'm gonna try to shortcut         12:57:31PM

20   this a little bit.    Am I correct in thinking that if 12:57:40PM

21   I ask you about one of these visits specifically,               12:57:45PM

22   like the visit on December 21st, 2020, you see that             12:57:50PM

23   invoice there?    There's one that says December 31st, 12:57:55PM

24   2020?                                                           12:57:55PM

25       A.   Yeah, I see it.                                        12:57:58PM

                                                                     Page 69

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1        A.   An estimate would be five or ten minutes               01:13:22PM

2    just depending on what you wanted to say or --                  01:13:42PM

3        Q.   But at least for the visits that we have up            01:13:48PM

4    on the screen here, these four, do you recall                   01:13:51PM

5    exactly how long you spent filling out surveys after 01:13:54PM

6    these visits?                                                   01:13:58PM

7        A.   No.                                                    01:13:59PM

8        Q.   I'm gonna go ahead and take this down just             01:13:59PM

9    for a minute and we may put it back up later but --             01:14:06PM

10   or at least I think I'm going to.         There we go.      All 01:14:16PM

11   right.                                                          01:14:16PM

12            If you needed to cancel a visit that you had 01:14:42PM

13   signed up for, do you know what the procedure was?              01:14:48PM

14       MR. LEBE:      Assumes facts.                               01:14:58PM

15       THE WITNESS:      All I can recall is I have to do          01:15:06PM

16   an advance.      I just don't remember how advance they         01:15:10PM

17   would want it.                                                  01:15:15PM

18   BY MS. RONEY:                                                   01:15:18PM

19       Q.   Okay.     What would you -- would you have to          01:15:19PM

20   do something on the app to cancel a visit?                      01:15:23PM

21       A.   Yes.                                                   01:15:26PM

22       Q.   And what would you do in the app?                      01:15:30PM

23       A.   Sorry.     My memory is a little mixed up.         I   01:15:33PM

24   don't know if I had to call the company like their              01:16:09PM

25   number or send like a -- or some kind of button that 01:16:13PM

                                                                     Page 79

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1        A.   Yeah, I don't.                                    02:16:09PM

2        Q.   It also says in paragraph 44 that you and         02:16:17PM

3    other class members were not reimbursed for use of         02:16:25PM

4    your cars; do you see that there?                          02:16:30PM

5        A.   Yes.                                              02:16:32PM

6        Q.   And -- go ahead.                                  02:16:36PM

7        A.   Yeah, I was just saying yes I do see.             02:16:38PM

8        Q.   Okay.    And did you use your car at all for      02:16:41PM

9    any of the visits you performed through Paps's             02:16:46PM

10   platform?                                                  02:16:49PM

11       A.   No.                                               02:16:50PM

12       Q.   It also says in paragraph 44 that you were        02:16:51PM

13   not reimbursed for other transportation expenses.          02:16:59PM

14   You didn't have any transportation expenses at all         02:17:04PM

15   for these virtual visits that you did; right?              02:17:07PM

16       A.   Yes, that's correct.                              02:17:11PM

17       Q.   And then it says here as well internet, did       02:17:19PM

18   you use your home internet for connecting to Paps's        02:17:24PM

19   app for these visits?                                      02:17:28PM

20       A.   Yes.                                              02:17:30PM

21       Q.   And you also used your home internet for          02:17:32PM

22   other purposes not related to the Papa app; right?         02:17:35PM

23       A.   Yes.                                              02:17:39PM

24       Q.   Do you know roughly how much the internet         02:17:42PM

25   cost per month?                                            02:17:55PM

                                                                Page 109

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1    BY MS. RONEY:                                                    02:26:23PM

2        Q.   Did you actually have to drive anywhere to              02:26:23PM

3    do your visits?                                                  02:26:26PM

4        A.   No.                                                     02:26:27PM

5        Q.   And did you ever spend time on standby?                 02:26:32PM

6        MR. LEBE:     Objection.   Vague.    Calls for a legal 02:26:40PM

7    conclusion.                                                      02:26:43PM

8        THE WITNESS:     No.                                         02:26:47PM

9    BY MS. RONEY:                                                    02:26:48PM

10       Q.   Is there anything else about that sentence              02:26:55PM

11   that is incorrect?                                               02:26:58PM

12       A.   No, that was it.                                        02:27:03PM

13       Q.   Okay.    I want to look at paragraph 14.          Can   02:27:05PM

14   you actually read this entire paragraph out loud for 02:27:09PM

15   us, please?                                                      02:27:14PM

16       A.   The whole paragraph?                                    02:27:15PM

17       Q.   Yes, please, so all three sentences.                    02:27:19PM

18       A.   "The foregoing policies applied not only to             02:27:24PM

19   me but to all Papa Pals working for Papa Inc. across 02:27:31PM

20   the United States.     I am aware that these policies            02:27:36PM

21   and practices reused in" -- "or used and are still               02:27:39PM

22   being used by Papa Inc. nationwide.         I am also aware 02:27:43PM

23   that the job description, job duties and                         02:27:47PM

24   compensation, structure of all Papa Pals were                    02:27:50PM

25   consistent throughout the United States."                        02:27:54PM

                                                                      Page 115

                                Veritext Legal Solutions
                        Calendar-CA@veritext.com 866-299-5127
1    had been a technological issue?                            02:35:29PM

2        MR. LEBE:    Asked and answered.      Vague.           02:35:33PM

3        THE WITNESS:    Well, yes, it was because of that      02:35:41PM

4    technology issue.                                          02:35:59PM

5    BY MS. RONEY:                                              02:36:02PM

6        Q.   Okay.   Any other complaints that you made to 02:36:03PM

7    Papa at any time since you started performing work         02:36:07PM

8    through their platform?                                    02:36:11PM

9        MR. LEBE:    Objection.    Vague.                      02:36:13PM

10       THE WITNESS:    No, that was the only one.             02:36:16PM

11   BY MS. RONEY:                                              02:36:19PM

12       Q.   Okay.   And so you never complained to Papa       02:36:19PM

13   that you had incurred expenses that weren't being          02:36:24PM

14   reimbursed?                                                02:36:27PM

15       MR. LEBE:    Same objection.                           02:36:34PM

16       THE WITNESS:    Can you repeat the question?           02:36:45PM

17   BY MS. RONEY:                                              02:36:46PM

18       Q.   You never complained to Papa that you had         02:36:47PM

19   incurred expenses that weren't reimbursed?                 02:36:49PM

20       A.   Yes, that's true.                                 02:36:54PM

21       Q.   And you never complained that you missed a        02:37:04PM

22   rest break; is that true?                                  02:37:09PM

23       A.   That's true.                                      02:37:11PM

24       Q.   You never complained that you had missed a        02:37:15PM

25   meal period; is that true?                                 02:37:19PM

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1        A.   Yes, that's true.                                 02:37:26PM

2        Q.   You never complained you thought you were         02:37:28PM

3    owed more money than you had been paid; is that            02:37:33PM

4    true?                                                      02:37:36PM

5        A.   That is true.                                     02:37:37PM

6        Q.   And you never complained that you thought         02:37:41PM

7    Papa didn't give you enough information about what         02:37:44PM

8    you thought you'd been paid and earned; is that            02:37:47PM

9    true?                                                      02:37:50PM

10       A.   Yes, that's true.                                 02:37:50PM

11       Q.   So other than that one complaint about the        02:37:57PM

12   technology issue and a cancelled visit, you didn't         02:38:00PM

13   make any complaints of any kind; right?                    02:38:04PM

14       A.   Yes, that's true.                                 02:38:07PM

15       MS. RONEY:     Okay.   That is all the questions       02:38:13PM

16   that I have.     Counsel, I am going to be holding this 02:38:15PM

17   deposition open because it does seem like there's          02:38:18PM

18   some documents that's were relevant to our discovery 02:38:22PM

19   request that have not been produced, so we can meet        02:38:25PM

20   and confer about that off line.                            02:38:28PM

21       But to that end, I'm going to ask the court            02:38:29PM

22   reporter or the videographer as well if they could         02:38:30PM

23   please get us an official record of how much time we 02:38:32PM

24   were on the record asking questions.         And, of       02:38:36PM

25   course, if you have any redirect you'd like to do,         02:38:39PM

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1               I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4        That the foregoing proceedings were taken before
5    me at the time and place herein set forth; that any
6    witnesses in the foregoing proceedings, prior to
7    testifying, were placed under oath; that a true and
8    correct record of the proceedings was made by me
9    using machine shorthand which was thereafter
10   transcribed under my direction; further, that the
11   foregoing is an accurate transcription thereof.
12       I further certify that I am neither financially
13   interested in the action nor a relative or employee
14   of any attorney of any of the parties.
15       IN WITNESS WHEREOF, I have this date subscribed
16   my name.
17   Dated:     October 16 2023
18
19
                        <%12379,Signature%>
20                      CRYSTAL WHITE
                        CSR No. 13841
21
22
23
24
25

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     Volume I                                      Jennifer Pardo vs.
     Evangeline Matthews                                   Papa, Inc.

·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3

·4· ·JENNIFER PARDO AND EVANGELINE
· · ·MATTHEWS, individually, and
·5· ·on behalf of all others
· · ·similarly situated,
·6

·7· · · · · · ·Plaintiffs,

·8· · · · v.· · · · · · · · · · · ·Case No.
· · · · · · · · · · · · · · · · · ·3:21-cv-06326-RS
·9· ·PAPA, INC.,

10· · · · · · ·Defendant.
· · ·______________________________
11

12

13

14· · · · · · REMOTE VIDEORECORDED DEPOSITION OF

15· · · · · · · · · ·EVANGELINE MATTHEWS

16· · · · · · · · · ·Winters, California

17· · · · · · · · · · September 16, 2024

18· · · · · · · · · · · · ·Volume I

19

20

21· ·Reported by:
· · ·CHRIS TE SELLE
22· ·CSR No. 10836

23· ·Job No. 10148780

24

25· ·Pages 1 - 296


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   Evangeline Matthews                                       Papa, Inc.

·1· · · · · · ·I want to know more about the work.· I'm
·2· ·more curious about what I'm going to be doing and
·3· ·how much money I'm going to make.· So, I didn't ask
·4· ·questions about them.· I don't really remember the
·5· ·whole training class, or what was said to me during
·6· ·that training class, so, I really don't know.
·7· · · · Q.· ·So, you don't, sitting here today, you
·8· ·don't remember, when you first applied to work at
·9· ·Papa, whether you were going to be classified as an
10· ·employee or independent contractor; is that right?
11· · · · MR. LEBE:· Asked and answered.
12· · · · THE WITNESS:· I knew, I knew I was going to get
13· ·paid per piece, which is common type of payment for
14· ·doing telemarketing work.· No different than a lot
15· ·of telemarketing jobs that I do.
16· ·BY MS. BRONCHETTI:
17· · · · Q.· ·Did you ever ask Papa to be classified as
18· ·an employee?
19· · · · A.· ·I did try.· They gave me a kind of a
20· ·runaround type of answer on how to do that, and, so,
21· ·but I did apply.· Yes, I did.· I put an application
22· ·in.
23· · · · Q.· ·No, that's not my question.
24· · · · · · ·Did you ever ask Papa for you to be
25· ·classified as an employee, as opposed to an


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   Evangeline Matthews                                       Papa, Inc.

·1· · · · A.· ·Yeah.
·2· · · · Q.· ·So, you said there was a older app and a
·3· ·newer app.
·4· · · · A.· ·Yeah.
·5· · · · Q.· ·From when to when, best estimate of time,
·6· ·did you use the older app?
·7· · · · A.· ·About a little over a year.
·8· · · · Q.· ·So, let's just, again, estimate, June 2020
·9· ·to June 2021?
10· · · · A.· ·I could tell you that the newer app I used
11· ·less than six months, maybe, so, I'm sorry, I can't
12· ·give you --
13· · · · Q.· ·That's okay.· We're just trying to break
14· ·it down the best we can, and you're doing a great
15· ·job.· I get it.
16· · · · · · ·So, the older app, let's talk about how
17· ·you would schedule appointments on the older app.
18· ·So, walk me through the process of how you would
19· ·schedule appointments using the older app.
20· · · · A.· ·This is from what I remember, okay, so I'm
21· ·going back three years, that they would have, the
22· ·app was actually very, very advanced for, for
23· ·telemarketing.
24· · · · · · ·The only problem with the app was, well,
25· ·how it worked is you'd have a time, and then you'd


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   Volume I                                       Jennifer Pardo vs.
   Evangeline Matthews                                    Papa, Inc.

·1· ·far as you can, schedule as many as you can, so that
·2· ·you have calls for the day.· That's the goal, is to,
·3· ·because, if you didn't have calls, you call somebody
·4· ·up, and here you have a scheduled call, and they
·5· ·don't answer the phone, I don't get paid for that,
·6· ·if they don't answer a call, even though they tell
·7· ·me this is a scheduled appointment.
·8· · · · · · ·It's not really a scheduled appointment.
·9· ·Out of four calls, if I got four calls in a hour,
10· ·which didn't always happen, because we're competing,
11· ·and scrolling, spaces are blank, then, out of four,
12· ·maybe one or two would answer, maybe not any of
13· ·them, so there's a lot of times I was working and
14· ·not getting paid because of that.
15· · · · · · ·So --
16· · · · Q.· ·Okay, let's --
17· · · · A.· ·-- that's how it works.
18· · · · Q.· ·Thank you very much.
19· · · · · · ·So, who chose the hours that you worked?
20· ·You did; is that right?
21· · · · MR. LEBE:· Objection.· Vague --
22· · · · THE WITNESS:· I had --
23· · · · MR. LEBE:· -- calls for a legal conclusion.
24· · · · You can answer.
25· · · · THE WITNESS:· I had a full day to make as many


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·1· ·calls that I wanted to, which isn't uncommon in
·2· ·telemarketing, to do something like that.
·3· · · · (Witness audio unclear, reporter
·4· ·clarification.)
·5· · · · THE WITNESS:· It's common.· That's how you do
·6· ·it.· That's how you do it.· You make a, you're
·7· ·competing about getting more calls than the next
·8· ·person.· You want to get as many calls as you want.
·9· ·You want to spend every minute on the phone.
10· ·That's, that's how you make money is on what calls
11· ·you get.
12· · · · So, but they could start any time.· I think
13· ·it's 7 a.m. to 8 or 9.· I don't remember, but there
14· ·was a big block of time I could call in.· And I
15· ·could, I could schedule my own hours whatever day I
16· ·wanted to work.· It wasn't, it wasn't, it wasn't a
17· ·set time.
18· ·BY MS. BRONCHETTI:
19· · · · Q.· ·So, to answer my question, you set the
20· ·times that you worked each day; is that right?
21· · · · MR. LEBE:· Vague --
22· · · · THE WITNESS:· Yeah, I did.
23· · · · MR. LEBE:· Please --
24· ·BY MS. BRONCHETTI:
25· · · · Q.· ·And when you --


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   Evangeline Matthews                                       Papa, Inc.

·1· ·call.· I didn't hear you.· Could you please repeat
·2· ·the question, please.
·3· ·BY MS. BRONCHETTI:
·4· · · · Q.· ·Did you look for documents that were
·5· ·relevant to your lawsuit, on your computer?
·6· · · · MR. LEBE:· Calls for a legal conclusion.
·7· · · · You can answer.
·8· · · · THE WITNESS:· When do you mean relevant to?
·9· ·You mean last night, or --
10· ·BY MS. BRONCHETTI:
11· · · · Q.· ·At any --
12· · · · A.· ·I'm not sure.
13· · · · Q.· ·-- time, did you look for documents,
14· ·evidence that you had to support your claims on your
15· ·computer?
16· · · · A.· ·Yes, I did.
17· · · · Q.· ·And you said you had, perhaps, screenshots
18· ·of a third of the times when the system crashed and
19· ·you were not paid.
20· · · · · · ·Did you look for those documents that
21· ·would show you were not paid?
22· · · · A.· ·I did look through my computer for those
23· ·documents.· I didn't see them.· I have a lot of
24· ·documents on my computer.· It's possible I
25· ·overlooked it, but I have looked for them, yes, I


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   Evangeline Matthews                                       Papa, Inc.

·1· ·record read.)
·2· · · · A.· ·I thought you also included speaking with
·3· ·the office with your original question.
·4· · · · Q.· ·How many minutes a day do you estimate you
·5· ·were not paid to speak with the office?
·6· · · · MR. LEBE:· Vague.· Asked and answered.
·7· · · · THE WITNESS:· About 15 minutes a day, somewhere
·8· ·in there.
·9· ·BY MS. BRONCHETTI:
10· · · · Q.· ·So, every day you talked to the office at
11· ·Papa?
12· · · · A.· ·In the beginning, it was every day, and
13· ·then they had the app, so you could talk to them on
14· ·the app itself, which was hard to get somebody to
15· ·answer you in the very beginning.· It got a little
16· ·bit better towards the end.
17· · · · Q.· ·So, how many minutes a day are you saying
18· ·that you were communicating, whether on the phone,
19· ·texting, e-mailing with Papa, and not being
20· ·compensated for that time?
21· · · · A.· ·I'm not saying that I spoke with them
22· ·every day.· I'm just giving you an estimate.    I
23· ·think about 15 minutes a day.
24· · · · Q.· ·So, 15 minutes a day, each day, you're
25· ·claiming you were not paid for time you spent


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   Evangeline Matthews                                      Papa, Inc.

·1· ·communicating with Papa; is that right?
·2· · · · MR. LEBE:· Asked and answered many, many times.
·3· · · · You can answer again.
·4· · · · THE WITNESS:· I'm not saying that I spoke with
·5· ·them every day.· I'm just giving, you asked for an
·6· ·estimate, daily estimate, and I just gave you a
·7· ·daily estimate.
·8· · · · I can't give you an exact time, or even -- I
·9· ·just don't know.· I didn't track that information.
10· ·They have those records.
11· ·BY MS. BRONCHETTI:
12· · · · Q.· ·Okay.· I'm asking what you have, though,
13· ·so, let's go back.
14· · · · · · ·So, how many times a week would you need
15· ·to communicate with Papa to perform your work, by
16· ·text, e-mail, or a phone call?
17· · · · MR. LEBE:· Vague.
18· · · · THE WITNESS:· I guess I don't remember.   I
19· ·don't know.· I don't know it wasn't every day, but
20· ·it was often.
21· ·BY MS. BRONCHETTI:
22· · · · Q.· ·Can you provide --
23· · · · A.· ·And maybe --
24· · · · Q.· ·-- an estimate on how many times a week
25· ·you had to communicate with Papa and were not paid


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   Evangeline Matthews                                    Papa, Inc.

·1· · · · Q.· ·And can you explain, then, what bonuses
·2· ·you received for your work with Papa.
·3· · · · A.· ·I believe it was every three calls you got
·4· ·25, and then every five calls you got 50, and then
·5· ·every seven calls you got 75, then there's a weekly
·6· ·bonus, and I think the weekly bonus was 50 calls.
·7· ·You got $100, maybe.
·8· · · · Q.· ·Did you ever keep track of how many hours
·9· ·you were performing work for Papa?
10· · · · MR. LEBE:· Asked and answered many, many times.
11· · · · You can answer again.
12· · · · THE WITNESS:· I did not.
13· ·BY MS. BRONCHETTI:
14· · · · Q.· ·How often did you receive these bonuses?
15· · · · A.· ·Tried to get them every week.· Every day
16· ·and every week was my goal.· Some days, there was no
17· ·calls on the app to be able to get to your bonus.
18· ·It wasn't because I wasn't there making calls.· The
19· ·app wasn't running right, or they just didn't have
20· ·enough calls on it.· It just varies.
21· · · · Q.· ·Did anyone at Papa ever tell you that the
22· ·bonuses were intended to compensate you for the
23· ·additional items you claim you weren't compensated
24· ·for, such as conducting notes, scrolling through the
25· ·app so you can schedule your work?· Did anyone tell


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   Evangeline Matthews                                       Papa, Inc.

·1· · · · A.· ·Oh.
·2· · · · Q.· ·-- take a break?
·3· · · · MR. LEBE:· Counsel, I disagree, and your
·4· ·arguing with her about her responses is, again, not
·5· ·appropriate.· It's asked and answered.
·6· · · · You can answer again.
·7· · · · THE WITNESS:· I don't, I have never, I don't
·8· ·know how to answer that, because I was, it was
·9· ·never, it shouldn't be, I shouldn't have to have, it
10· ·should already be, breaks should be something that's
11· ·scheduled into something.
12· · · · I shouldn't have to, I mean, that's, I don't
13· ·understand what -- maybe you could rephrase the
14· ·question for me.· That would be best.
15· ·BY MS. BRONCHETTI:
16· · · · Q.· ·Did anyone at Papa, either in writing or
17· ·verbally, tell you you were not permitted to take
18· ·any breaks?
19· · · · MR. LEBE:· Vague.· Legal conclusion.· Asked and
20· ·answered.· Go ahead.
21· · · · THE WITNESS:· Okay.· Well, they didn't say it's
22· ·not, in writing or in person, say you could not take
23· ·a break, no, they did not.
24· ·BY MS. BRONCHETTI:
25· · · · Q.· ·Thank you for answering the question.


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   Evangeline Matthews                                    Papa, Inc.

·1· · · · THE WITNESS:· I never timed myself how long I
·2· ·took my notes.· I'm giving you a fair estimate.· You
·3· ·asked me to give you a fair estimate.· I've given
·4· ·you a fair estimate about what I think my time is
·5· ·worth.
·6· ·BY MS. BRONCHETTI:
·7· · · · Q.· ·My question's a little bit different.
·8· · · · · · ·Did it ever take you less than 15 minutes
·9· ·to complete notes of a call?· And I'm talking about
10· ·a 2 minute call, for example.
11· · · · MR. LEBE:· Calls for speculation.
12· · · · THE WITNESS:· I don't know, because I didn't
13· ·keep a log, a call log like that.
14· ·BY MS. BRONCHETTI:
15· · · · Q.· ·Is it possible?
16· · · · MR. LEBE:· Counsel, she's testified multiple
17· ·times that she doesn't know, so you're badgering
18· ·her.· If she doesn't know, she doesn't know.· You
19· ·have to move on.
20· · · · THE WITNESS:· I don't know.
21· ·BY MS. BRONCHETTI:
22· · · · Q.· ·Is it possible you ever spent less than 15
23· ·minutes recording notes?
24· · · · MR. LEBE:· Asked and answered.
25· · · · You can answer again.


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·1· · · · THE WITNESS:· I don't know.
·2· ·BY MS. BRONCHETTI:
·3· · · · Q.· ·Is it possible you ever spent more than 15
·4· ·minutes recording notes?
·5· · · · A.· ·I don't know.
·6· · · · Q.· ·Okay, let's look at the 22nd of September,
·7· ·and this is a document you produced this morning.
·8· · · · · · ·When did you start work on the 22nd of
·9· ·September?
10· · · · A.· ·Well, I would assume I started probably
11· ·about 15 minutes before my shift, before the first
12· ·call, but I'm really not sure.· I didn't keep a log.
13· ·I didn't keep track of this.· I'm sorry I didn't
14· ·keep track of my hours.· I should have kept a better
15· ·log.· I really don't know.
16· · · · Q.· ·Ma'am, if you could just stick to the
17· ·question.· It's okay.· We're just trying to figure
18· ·out what you know, okay?
19· · · · · · ·So, to the best of your knowledge, what
20· ·time did you start work on the 22nd of September?
21· · · · MR. LEBE:· Asked and answered.· You can answer
22· ·again.
23· · · · THE WITNESS:· Just an estimate, I would assume
24· ·that I started 15 minutes before 11:30.
25· ·BY MS. BRONCHETTI:


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   Evangeline Matthews                                       Papa, Inc.

·1· · · · Q.· ·But that was your goal.· No one from Papa
·2· ·told you that; is that correct?
·3· · · · A.· ·There wasn't -- we were able to go in and
·4· ·pull calls out of the dollar and make the calls as
·5· ·we wanted to and need to.· It's not uncommon
·6· ·practice in telemarketing to have a pool of calls to
·7· ·go through and pull calls out of them and make the
·8· ·phone calls.· It's --
·9· · · · Q.· ·So, the reason --
10· · · · A.· ·-- pretty --
11· · · · Q.· ·-- you wanted to --
12· · · · A.· ·-- common.
13· · · · Q.· ·I'm sorry, I thought you were finished.
14· · · · · · ·So, the reason that you wanted to do three
15· ·calls on this day, September 22, is because you
16· ·wanted to get eligible for the bonus; is that
17· ·correct?
18· · · · MR. LEBE:· Calls for speculation.
19· · · · THE WITNESS:· Right.
20· ·BY MS. BRONCHETTI:
21· · · · Q.· ·And you didn't --
22· · · · A.· ·That's what --
23· · · · Q.· ·-- have to do --
24· · · · A.· ·Go ahead.
25· · · · Q.· ·-- three calls.· You didn't have to do


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   Evangeline Matthews                                       Papa, Inc.

·1· · · · A.· ·-- I ended my day.
·2· · · · Q.· ·-- Papa required that you scroll to find
·3· ·an additional call for the day; is that right?
·4· · · · A.· ·There was no set limit on the amount,
·5· ·number of calls made in a day.
·6· · · · Q.· ·And it's possible between 11:20 and 11:35
·7· ·you went and heated up some food, is that possible?
·8· · · · MR. LEBE:· Calls for speculation.
·9· · · · THE WITNESS:· You broke up on my end.
10· ·BY MS. BRONCHETTI:
11· · · · Q.· ·Between 11:20 and 11:35, is it possible
12· ·you got up from your work area and went in your
13· ·house to heat up food, to do anything else unrelated
14· ·to Papa?
15· · · · A.· ·Probably, no, I probably didn't.· I,
16· ·that's not my style.· I stay at work, and I work
17· ·until I'm done.· I don't usually get up.· I don't
18· ·take breaks unless somebody makes me take a break,
19· ·but it would be nice to be told take a break every
20· ·now and then.
21· · · · Q.· ·So you're saying it's absolutely
22· ·impossible that you would not have gotten up to take
23· ·a break between these two calls, is that your
24· ·testimony?
25· · · · A.· ·I didn't get up during those, between


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   Evangeline Matthews                                    Papa, Inc.

·1· ·those calls.
·2· · · · Q.· ·Well, in this case --
·3· · · · A.· ·That was a, that's a short day right
·4· ·there.· It's only a couple of hours.
·5· · · · · · ·I'm a hard worker.· I stay at, I stay at
·6· ·-- I'm trying to make money.· I don't make money by
·7· ·getting up and getting something to eat.
·8· · · · Q.· ·Yeah, I know you --
·9· · · · A.· ·I have a water bottle.
10· · · · Q.· ·Yeah, you testified earlier you worked
11· ·from 6 a.m. to 8 p.m. most days.
12· · · · · · ·That's not true, is it?
13· · · · MR. LEBE:· Vague.· Calls for --
14· · · · THE WITNESS:· I said, I --
15· · · · MR. LEBE:· -- a legal conclusion.
16· · · · THE WITNESS:· -- said there were days where I
17· ·could have worked those amount of times.· I don't
18· ·know.· I don't, didn't keep a log, like I explained.
19· ·I don't, I didn't say that was set in stone, but
20· ·there were days I worked 12 hours, so, quite a few
21· ·days I worked 12 hours.
22· ·BY MS. BRONCHETTI:
23· · · · Q.· ·What percentage of the days when you
24· ·worked for Papa did you work for Papa from 6 a.m. to
25· ·8 p.m.?


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   Evangeline Matthews                                      Papa, Inc.

·1· ·exclusively for the use of contracting with Papa; is
·2· ·that correct?
·3· · · · A.· ·No.· I had to buy another phone because it
·4· ·was necessary for multiple reasons.
·5· · · · Q.· ·For personal and professional, correct?
·6· · · · A.· ·That's correct.
·7· · · · Q.· ·You would have had a phone regardless if
·8· ·you worked with Papa or not; is that right?
·9· · · · A.· ·That's correct.
10· · · · Q.· ·You never did a single in-person visit
11· ·when you performed services for Papa; is that right?
12· · · · A.· ·That's correct.· I wanted to, but they
13· ·weren't in my, my range.
14· · · · Q.· ·What is your personal cell phone number?
15· · · · A.· ·530-220-7196.
16· · · · Q.· ·Do you have any other personal cell phone
17· ·numbers?
18· · · · A.· ·I have a Google Voice I don't use.
19· · · · Q.· ·Have you ever had any other personal cell
20· ·phone number?
21· · · · A.· ·I have.
22· · · · Q.· ·When is the last time you had another
23· ·personal cell phone number?
24· · · · A.· ·Maybe a year and a half ago.
25· · · · Q.· ·What was that number?


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·1· ·insurance when I first started.· It was something
·2· ·that was already active, and I'm not even sure how
·3· ·many months it was active for at that point in time,
·4· ·because I didn't make any in-home visits, so I
·5· ·didn't track that.
·6· · · · Q.· ·My question is different.
·7· · · · · · ·Did you or did you not have to pay any
·8· ·additional expense for automobile insurance to work
·9· ·with Papa?
10· · · · A.· ·Additional insurance?
11· · · · MR. LEBE:· Vague.
12· ·BY MS. BRONCHETTI:
13· · · · Q.· ·Correct.
14· · · · A.· ·No.
15· · · · Q.· ·You've signed some declarations in this
16· ·case?
17· · · · A.· ·Yes.
18· · · · Q.· ·Do you read documents before you sign them
19· ·under the penalty of perjury?
20· · · · A.· ·I do.
21· · · · Q.· ·You understand that signing an incorrect
22· ·statement is committing perjury in the State of
23· ·California?
24· · · · A.· ·I --
25· · · · MR. LEBE:· Objection.


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·1· · · · Q.· ·Well, ma'am, my question is different.
·2· ·You didn't have to use your personal mobile phone,
·3· ·home Internet, and data plan to book visits with
·4· ·data's customers, did you?
·5· · · · MR. LEBE:· Objection.· Compound.
·6· · · · THE WITNESS:· I don't know what you mean.     I
·7· ·don't know how somebody would make a call if I
·8· ·didn't use my phone or data.
·9· ·BY MS. BRONCHETTI:
10· · · · Q.· ·Did you, you never had to use your
11· ·personal vehicle to travel to and from visits with
12· ·defendant's customers; is that correct?
13· · · · MR. LEBE:· Asked and answered many times.· You
14· ·can answer again.
15· · · · THE WITNESS:· Yeah, that's correct.
16· ·BY MS. BRONCHETTI:
17· · · · Q.· ·So that statement, in addition, although I
18· ·used my personal vehicle to travel to and from
19· ·visits with defendant's customers, defendant failed
20· ·to adequately reimburse me for gas mileage, wear and
21· ·tear, necessary maintenance, and for automobile
22· ·insurance, despite requiring me to possess this
23· ·insurance.
24· · · · · · ·That's not an accurate statement, is it?
25· · · · MR. LEBE:· Objection.


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·1· · · · THE WITNESS:· I realized --
·2· · · · Go ahead.· I'm sorry.
·3· · · · MR. LEBE:· Yeah, it's vague.· You can answer
·4· ·the question, though.
·5· · · · THE WITNESS:· I realized I misread the
·6· ·paragraph, and I corrected it.
·7· ·BY MS. BRONCHETTI:
·8· · · · Q.· ·Ms. Matthews, that statement is not
·9· ·truthful, correct?· The statement, in addition,
10· ·although I used my personal vehicle; did you ever
11· ·use your personal vehicle?
12· · · · MR. LEBE:· Are you withdrawing the previous
13· ·question?
14· ·BY MS. BRONCHETTI:
15· · · · Q.· ·Did you ever use your personal vehicle?
16· · · · MR. LEBE:· It's been asked and answered many
17· ·times.· You can answer again.
18· · · · THE WITNESS:· I did not.
19· ·BY MS. BRONCHETTI:
20· · · · Q.· ·So, under perjury, the statement that you
21· ·said, in addition, although I used my personal
22· ·vehicle to travel to and from visits with
23· ·defendant's customers, that's not a true statement,
24· ·correct?
25· · · · MR. LEBE:· Asked and answered.· You can answer


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·1· ·again.
·2· · · · THE WITNESS:· I misread it, and I corrected it.
·3· ·BY MS. BRONCHETTI:
·4· · · · Q.· ·Why won't you answer, yes or no, is that a
·5· ·true statement or not?· Can you answer that
·6· ·question?
·7· · · · A.· ·I've answered al-, the questions already.
·8· ·I didn't use my vehicle.· I did state that, I did
·9· ·agree to that, I signed that, but it was a mistake.
10· ·I realized it, and I corrected it.
11· · · · Q.· ·So, it's an untrue statement; is that
12· ·right?
13· · · · MR. LEBE:· It's asked and answered.· It's
14· ·badgering.· We provided an amended declaration of
15· ·our own, without any request or comment from
16· ·defendant, in order to correct this, and now you're
17· ·harassing her about having done that.
18· · · · But you can answer.
19· ·BY MS. BRONCHETTI:
20· · · · Q.· ·Is it or is it not a true statement?
21· · · · A.· ·Of course, it's not a true, it's an error
22· ·on my part, because I made a mistake when I read
23· ·that.· I don't know why you -- no, it's not a true
24· ·statement.· I did correct it.· I realized I made a
25· ·mistake, that I'm sorry about that.


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·1· ·answer, again, so, move on.
·2· · · · MS. BRONCHETTI:· I just want it for the record.
·3· ·This class representative doesn't think signing
·4· ·documents under the penalty of perjury is important.
·5· ·So, we've got that.
·6· · · · MR. LEBE:· Move on, counsel.
·7· ·BY MS. BRONCHETTI:
·8· · · · Q.· ·How much time on a given visit did you
·9· ·spend confirming visits with customers?
10· · · · A.· ·I think there were some confirmation calls
11· ·that were made when they had the new app.· Not that
12· ·many of the confirmation calls I made, because they
13· ·end up wanting to talk to you right then at that
14· ·point in time, and then, so, it made two calls, and
15· ·one you didn't get paid for.· You didn't get paid
16· ·for the confirmation call, so I would just do it
17· ·during the scheduled time.
18· · · · Q.· ·Okay.· So, going back, is it true that you
19· ·did not make a confirmation call for every visit
20· ·that you had with every Pal member?
21· · · · A.· ·No.· What are you, how are you defining a
22· ·confirmation call?
23· · · · Q.· ·I don't know, ma'am.· Do you know what
24· ·that word means?· Because you used it in the --
25· · · · A.· ·I do.


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·1· · · · THE WITNESS:· Okay.
·2· · · · MR. LEBE:· You have to slow down.
·3· · · · So, can I hear the question read back, please.
·4· ·BY MS. BRONCHETTI:
·5· · · · Q.· ·How many minutes a day --
·6· · · · MS. BRONCHETTI:· I was going to help you.       I
·7· ·was trying to help.
·8· · · · THE COURT REPORTER:· Thank you.
·9· · · · MR. LEBE:· I don't think that helps, because
10· ·then there's just a second question.
11· · · · THE COURT REPORTER:· That's very nice of you,
12· ·thank you very much.
13· · · · · · ·(The requested portion was read:
14· · · · · · ·Q.· How many minutes a day did you spend
15· · · · · · ·confirming calls where you were not paid
16· · · · · · ·by Papa for that time?)
17· · · · MS. BRONCHETTI:· Objection.· Calls for a legal
18· ·conclusion.· You can answer.
19· · · · THE WITNESS:· I can't give you a number.· Papa
20· ·knows which calls they required a confirmation call
21· ·for.· It was on part of the new app, not the old
22· ·app, and I stopped doing it towards the end.     I
23· ·didn't always do the confirmation towards the end of
24· ·the time I worked there.
25· ·BY MS. BRONCHETTI:


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·1· ·understand that when I'm saying the word,
·2· ·consequence, as an employee, if you are told to do
·3· ·something and you don't do it, your employer can
·4· ·discipline you, right?· Do you agree with --
·5· · · · A.· ·No.
·6· · · · Q.· ·-- that?
·7· · · · A.· ·I agree.· They don't always discipline.
·8· ·Sometimes, you know, give you a warning, whatever,
·9· ·just talk to you about it, but, yeah, there can be
10· ·consequences, yeah.
11· · · · Q.· ·Okay.· So, we're talking about the same
12· ·thing.
13· · · · A.· ·Uh-huh.
14· · · · Q.· ·When you didn't make confirmation calls
15· ·when you worked with Papa, did you ever, were you
16· ·ever subject to any adverse consequence?
17· · · · A.· ·They flash something across the screen
18· ·about the, I can't remember exactly, but the message
19· ·said about making the confirmation calls as, they
20· ·always said, put, when you talk about consequences
21· ·or warning, that's how they used to do it.
22· · · · · · ·They flash a message across the screen,
23· ·and I believe I called them up and talked to them
24· ·about it, about the situation, but I can't, I can't
25· ·remember exactly.· This is a long time ago, and I


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·1· ·barely remember it.
·2· · · · Q.· ·Okay.· So, sitting here today, did you
·3· ·ever get a written warning for not making
·4· ·confirmation calls, when you didn't make them?
·5· · · · A.· ·If you consider a flash across the screen
·6· ·as a warning, then --
·7· · · · Q.· ·Do you know if the flash across the screen
·8· ·was directly initiated just to you, or was a general
·9· ·message to everybody?
10· · · · MR. LEBE:· Calls for speculation.
11· · · · THE WITNESS:· I don't remember, honestly.   I
12· ·don't remember if it was because I didn't make a
13· ·call or if it was for everybody.
14· · · · It's been a long time since I saw that message.
15· ·BY MS. BRONCHETTI:
16· · · · Q.· ·And would you get a flash across the
17· ·screen every time you didn't make this confirmation
18· ·call?
19· · · · A.· ·I don't remember.
20· · · · Q.· ·So, even though you, but you definitely
21· ·got this flash, and you don't remember what it says;
22· ·is that right?
23· · · · A.· ·That's right.
24· · · · Q.· ·Okay.· And whatever this flash said after
25· ·you didn't make a confirmation call, you continued


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·1· ·to ignore that flash and continued to not make
·2· ·confirmation calls after a certain point; is that
·3· ·right?
·4· · · · A.· ·I don't remember.· Honestly, I don't
·5· ·remember about that.· I believe I called them up and
·6· ·talked to them about it.
·7· · · · Q.· ·Okay.· Okay.· But, after you talked to
·8· ·them, you continued to not make confirmation calls,
·9· ·right?
10· · · · A.· ·I don't remember the conclusion of the
11· ·call.· I know I stopped making them.· I don't know
12· ·if it's something we agreed upon, or --
13· · · · Q.· ·You don't remember.
14· · · · A.· ·Yeah.
15· · · · Q.· ·So, you didn't get kicked off the app
16· ·because you stopped making these confirmation calls,
17· ·right?
18· · · · A.· ·That's right.
19· · · · Q.· ·Did you read the independent contractor
20· ·agreement before you signed it?
21· · · · MR. LEBE:· Objection.· Lacks foundation.
22· ·Vague.
23· · · · THE WITNESS:· I have to see the document that
24· ·you're speaking about.
25· ·BY MS. BRONCHETTI:


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   Evangeline Matthews                                      Papa, Inc.

·1· · · · I, the undersigned, a Certified Shorthand

·2· ·Reporter of the State of California, do hereby

·3· ·certify:

·4· · · · That the foregoing proceedings were taken

·5· ·before me, via videoconference, at the time and

·6· ·place herein set forth; that any witnesses in the

·7· ·foregoing proceedings, prior to testifying, were

·8· ·duly sworn; that a record of the proceedings was

·9· ·made by me using machine shorthand which was

10· ·thereafter transcribed under my direction; that the

11· ·foregoing transcript is a true record of the

12· ·proceedings.

13· · · · Further, that if the foregoing pertains to the

14· ·original transcript of a deposition in a Federal

15· ·Case, before completion of the proceedings, review

16· ·of the transcript [ ] was [X] was not requested.

17· · · · I further certify I am neither financially

18· ·interested in the action nor a relative or employee

19· ·of any attorney or party to this action.

20· · · · IN WITNESS WHEREOF, I have this date subscribed

21· ·my name.

22
· · ·Dated: 09/20/2024
23

24
· · · · · ____________________________________
25· · · · · · · · · ·CHRIS TE SELLE
· · · · · · · · · · ·CSR No. 10836


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                8     Attorneys for Defendant
                      PAPA, INC.
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               10                               UNITED STATES DISTRICT COURT
               11                            NORTHERN DISTRICT OF CALIFORNIA
               12     Jennifer Pardo and Evangeline           Case No: 3:21-cv-06326-RS
                      Matthews, individually and on
               13     behalf of all others similarly
                      situated,                               DECLARATION OF PRISCILLA
               14                                             HOYT IN SUPPORT OF
                                               Plaintiffs,    DEFENDANT PAPA, INC.’S
               15                                             OPPOSITION TO CLASS
                              v.                              CERTIFICATION
               16
                      Papa, Inc.,
               17                                             TAC Filed: 9/14/2022
                                                Defendants.   Trial Date:   Not set
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                                                              1                    Case No.: 3:21-cv-06326-RS
                       DECLARATION OF PRISCILLA HOYT IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                1    I, Priscilla Hoyt, declare as follows:
                2             1.       I work as a Papa Pal in California. I have personal knowledge of the
                3    facts set forth in this declaration, which are known by me to be true and correct,
                4    and if called as a witness, I could and would testify competently about the facts in
                5    this declaration.
                6             2.       I began working as a Pal a little over a year ago. There was no
                7    required training to become a Pal, but I did review an orientation video that
                8    explained what Papa is, how to use the application, and how Pals are paid as part
                9    of the application process.
               10             3.       As a Pal, I have helped members with companionship, taking them
               11    to doctor visits, accompanying them to pick up their prescriptions, helping them
               12    exercise, playing games, and transporting them to see other people, among other
               13    things. Being a Pal isn’t like a real job. It’s like spending time with a family
               14    friend. I enjoy the companionship and hope there is a service like this for me one
               15    day if I need it.
               16             4.       I can choose to visit a member whenever I feel like it. My schedule
               17    varies. I typically complete twelve visits per month.
               18             5.       Most of my visits are one to four hours, with the average being two
               19    hours. I have never completed a visit that is longer than four hours. I have never
               20    worked over eight hours in a day, forty hours in a week, or seven consecutive
               21    days in a row.
               22             6.       I do complete multiple visits in a single day. If I do complete
               23    multiple visits, the Papa app forces me to take a mandatory 30-minute break in
               24    between, even if I don’t want or need one. There are incentives to completing
               25    multiple visits in a day, so I often do so.
               26             7.       I do not have my own company.
               27             8.       I do not have any other employment.
               28
                                                                   2                     Case No.: 3:21-cv-06326-RS
                       DECLARATION OF PRISCILLA HOYT IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                1             9.       Depending on the type of visit, I may have a significant amount of
                2    downtime. If a visit involves taking a member to a doctor appointment, for
                3    example, I am free to what I want to do. I can and do use this time for my own
                4    personal reasons, to take breaks, to eat, to talk on the phone, to get gas, etc. I am
                5    always compensated for this downtime. Even if there isn’t obvious downtime, I
                6    am able to take a rest break when I feel like it.
                7             10.      I know I can take a rest break—or two—of at least 10 minutes if I
                8    want to no matter the length of my visits. No member has ever tried to interfere
                9    with me taking a rest break, and no employee of Papa has ever told me I could not
               10    take a rest break. Taking a rest break is completely up to me because I control
               11    every aspect of my visits with a member.
               12             11.      I know I can take a meal break of at least 30 minutes, completely
               13    uninterrupted, if I ever need one. No member has ever tried to interfere with me
               14    taking a meal period. No employee of Papa has ever told me that I could not take
               15    an uninterrupted 30-minute meal period. That said, I do not complete visits longer
               16    than 5 hours.
               17             12.      I do not clock in and out for meal periods using the app. But I always
               18    take meal periods if I am completing a longer visit. The Papa application data
               19    would not be an accurate reflection of whether I took a meal period on any given
               20    day.
               21             13.      I use my car to get to members. I do drive as part of the visits that I
               22    complete with members.
               23             14.      I call members to confirm a visit in advance of the visits I complete.
               24    I only do this about 10% of the time because I have set visits with members.
               25             15.      I incur mileage expenses for being a Pal. I am always reimbursed for
               26    this expense. I use my phone to access the application and get paid, but I do not
               27    use it to be a Pal. It takes me seconds to access the application.
               28             16.      I am on a family plan for my cellular service.
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                       DECLARATION OF PRISCILLA HOYT IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                1             17.      If I was able to, I would love to see members outside of the Papa
                2    platform. I have not had this opportunity because the members I work with have
                3    not run out of visits. If this happened, the member and I would negotiate the rate
                4    for any services I perform.
                5             18.      I understand that a class action lawsuit has been filed by a former Pal
                6    claiming that Pals are misclassified as independent contractors and that Pals, like
                7    me, should have been treated like employees. I understand that if the case goes
                8    forward as a class action, I might be included in the class of people who are
                9    involved in the lawsuit. I also understand that making this declaration will not
               10    affect my ability to be included as a member of the class.
               11             19.      I voluntarily make this declaration, of my own free will. I have not
               12    been coerced, pressured, threatened, or promised anything in connection with this
               13    declaration. This declaration was drafted during an interview I had with one of
               14    Papa’s attorneys. The declaration was typed by the attorney, but all the statements
               15    in this declaration are true and based on my interview. I was offered the
               16    opportunity to make any changes that I wanted to this declaration before I signed
               17    it. I understand that the attorney I spoke with represents Papa and is not my
               18    attorney. I also understand that I can speak with any attorney of my choice
               19    concerning this declaration or any other matter. I understand that Papa plans to
               20    use this declaration in its defense of the lawsuit filed against it.
               21             20.      I understand that by signing this declaration, I may be asked to
               22    testify as a witness in this case. I also understand that this declaration might go
               23    against my own interests, to the extent that my interests are aligned with the
               24    individuals who filed the lawsuit against Papa claiming they have been
               25    misclassified as independent contractors.
               26             I declare under penalty of perjury under the laws of the State of California
               27    and the United States of America that the foregoing is true and correct.
               28
                                                                   4                     Case No.: 3:21-cv-06326-RS
                       DECLARATION OF PRISCILLA HOYT IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                1             Executed on August ___,
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                                                      2024 at San Clemente, California.
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                                                              5                    Case No.: 3:21-cv-06326-RS
                       DECLARATION OF PRISCILLA HOYT IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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              10                                UNITED STATES DISTRICT COURT
              11                             NORTHERN DISTRICT OF CALIFORNIA
              12     Jennifer Pardo and Evangeline                Case No: 3:21-cv-06326-RS
                     Matthews, individually and on
              13     behalf of all others similarly
                     situated,                                    DECLARATION OF KELLIE HYNDS
              14                                                  IN SUPPORT OF DEFENDANT
                                               Plaintiffs,        PAPA, INC.’S OPPOSITION TO
              15                                                  CLASS CERTIFICATION
                              v.
              16
                     Papa, Inc.,                                  TAC Filed: 9/14/2022
              17                                                  Trial Date:   Not set
                                               Defendants.
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                                                               1                     Case No.: 3:21-cv-06326-RS
                          DECLARATION OF KELLIE HYNDS IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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               1     I, Kellie Hynds, declare as follows:
               2              1.       I work as a Papa Pal in California. I have personal knowledge of the
               3     facts set forth in this declaration, which are known by me to be true and correct,
               4     and if called as a witness, I could and would testify competently about the facts in
               5     this declaration.
               6              2.       I began working as a Pal around a year and a half ago. There was no
               7     required training to become a Pal, but I did review an orientation video that
               8     explained what Papa is, how to use the application, and how Pals are paid as part
               9     of the application process.
              10              3.       As a Pal, I have helped members with house cleaning, taking
              11     members to the grocery store, and companionship while completing these tasks.
              12     Being a Pal isn’t like a real job. It’s like spending time with a family friend. I
              13     enjoy the companionship.
              14              4.       I can choose to visit a member whenever I feel like it. My schedule
              15     varies. I typically complete less than ten visits per month, typically on weekends.
              16              5.       Most of my visits are two hours. I have never completed a visit that
              17     is longer than five hours. Only 5% of my visits go over three hours. I have never
              18     worked over eight hours in a day, forty hours in a week, or seven consecutive
              19     days in a row.
              20              6.       I rarely complete multiple visits in a single day. No more than once a
              21     month do I complete multiple visits in a single day. If I do complete multiple
              22     visits, the Papa app forces me to take a mandatory 30-minute break in between,
              23     even if I don’t want or need one.
              24              7.       I do not have my own company.
              25              8.       I am also employed full-time as a therapist during the week.
              26              9.       I occasionally perform work for other app-based companies.
              27     Specifically, I work occasionally for Uber Eats.
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                                                               2                     Case No.: 3:21-cv-06326-RS
                          DECLARATION OF KELLIE HYNDS IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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               1              10.      I personally do not have visits with downtime. However, I am aware
               2     that some visits have a significant amount of downtime. If a visit involves taking
               3     a member to a doctor appointment, for example, I am aware that I would be free
               4     to what I want to do. I could use this time for my own personal reasons, to take
               5     breaks, to eat, to talk on the phone, etc. Even if there isn’t obvious downtime, I
               6     am able to take a rest break when I feel like it.
               7              11.      I know I can take a rest break—or two—of at least 10 minutes if I
               8     want to no matter the length of my visits. No member has ever tried to interfere
               9     with me taking a rest break, and no employee of Papa has ever told me I could not
              10     take a rest break. Taking a rest break is completely up to me because I control
              11     every aspect of my visits with a member.
              12              12.      I know I can take a meal break of at least 30 minutes, completely
              13     uninterrupted, if I ever need one. No member has ever tried to interfere with me
              14     taking a meal period. No employee of Papa has ever told me that I could not take
              15     an uninterrupted 30-minute meal period. That said, I do not complete visits longer
              16     than 5 hours.
              17              13.      I do not clock in and out for meal periods using the app. The Papa
              18     application data would not be an accurate reflection of whether I took a meal
              19     period on any given day.
              20              14.      I use my car to get to members. I do drive as part of the visits that I
              21     complete with members.
              22              15.      I call members to confirm a visit in advance of the visits I complete.
              23              16.      I do not incur expenses being a Pal, other than mileage. I am
              24     reimbursed for all mileage. I use my phone to access the application and get paid,
              25     but I do not use it to be a Pal. It takes me less than five minutes to access the
              26     application. I also use the application to clock-in and clock-out and complete a
              27     survey at the end of each visit. The survey takes less than one minute to complete.
              28              17.      I am a Preferred Pal for three members.
                                                               3                     Case No.: 3:21-cv-06326-RS
                          DECLARATION OF KELLIE HYNDS IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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               1               18.      As a Preferred Pal, I can reschedule my visits on the application.
               2               19.      I am on a family plan for my cellular service.
               3               20.      I sometimes see members outside of the Papa platform. This usually
               4     happens when the member runs out of insurance-paid visits. When this happens,
               5     the member and I negotiate the rate for any services I perform.
               6               21.      I understand that a class action lawsuit has been filed by a former Pal
               7     claiming that Pals are misclassified as independent contractors and that Pals, like
               8     me, should have been treated like employees. I understand that if the case goes
               9     forward as a class action, I might be included in the class of people who are
              10     involved in the lawsuit. I also understand that making this declaration will not
              11     affect my ability to be included as a member of the class.
              12               22.      I voluntarily make this declaration, of my own free will. I have not
              13     been coerced, pressured, threatened, or promised anything in connection with this
              14     declaration. This declaration was drafted during an interview I had with one of
              15     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
              16     in this declaration are true and based on my interview. I was offered the
              17     opportunity to make any changes that I wanted to this declaration before I signed
              18     it. I understand that the attorney I spoke with represents Papa and is not my
              19     attorney. I also understand that I can speak with any attorney of my choice
              20     concerning this declaration or any other matter. I understand that Papa plans to
              21     use this declaration in its defense of the lawsuit filed against it.
              22               23.      I understand that by signing this declaration, I may be asked to
              23     testify as a witness in this case. I also understand that this declaration might go
              24     against my own interests, to the extent that my interests are aligned with the
              25     individuals who filed the lawsuit against Papa claiming they have been
              26     misclassified as independent contractors.
              27     ///
              28     ///
                                                                4                     Case No.: 3:21-cv-06326-RS
                           DECLARATION OF KELLIE HYNDS IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                       CLASS CERTIFICATION
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               1              I declare under penalty of perjury under the laws of the State of California
               2     and the United States of America that the foregoing is true and correct.
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               4              Executed on August 27, 2024 at _____________________, California.
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                                                                ________________________________
                                                                Kellie Hynds
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                                                               5                     Case No.: 3:21-cv-06326-RS
                          DECLARATION OF KELLIE HYNDS IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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               1    ELLEN M. BRONCHETTI (SBN 226975)
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               6    San Francisco, CA 94105
                    Telephone: (415) 655-1277
               7    millerta@gtlaw.com
               8    Attorneys for Defendant
                    PAPA, INC.
               9

             10                                   UNITED STATES DISTRICT COURT
             11                             NORTHERN DISTRICT OF CALIFORNIA
             12     Jennifer Pardo and Evangeline              Case No: 3:21-cv-06326-RS
                    Matthews, individually and on
             13     behalf of all others similarly
                    situated,                                  DECLARATION OF SANDRA
             14                                                RODRIGUEZ IN SUPPORT OF
                                              Plaintiffs,      DEFENDANT PAPA, INC.’S
             15                                                OPPOSITION TO CLASS
                             v.                                CERTIFICATION
             16
                    Papa, Inc.,
             17                                                TAC Filed: 9/14/2022
                                              Defendants.      Trial Date:   Not set
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                                                            1                   Case No.: 3:21-cv-06326-RS
                      DECLARATION OF SANDRA RODRIGUEZ IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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               1    I, SANDRA RODRIGUEZ, declare as follows:
               2             1.        I work as a Papa Pal in California. I have personal knowledge of the
               3    facts set forth in this declaration, which are known by me to be true and correct,
               4    and if called as a witness, I could and would testify competently about the facts in
               5    this declaration.
               6             2.        I began working as a Pal around three years ago. There was no
               7    required training to become a Pal.
               8             3.        As a Pal, I have helped members with housework, including
               9    sweeping, washing dishes, and other cleaning tasks, transporting members to
             10     doctor visits, among other things. Being a Pal isn’t like a real job. It’s like
             11     spending time with a family friend. A lot of members see me as family and I also
             12     see them as family. Some members have even told me they love me.
             13              4.        I appreciate the flexibility of being a Pal. The flexibility of Papa
             14     allows me to work another job and take care of my children. For example, I have
             15     scheduled my visits to allow me to pick up my son from school.
             16              5.        I can choose to visit a member whenever I feel like it. My schedule
             17     varies. I typically complete five to ten visits per week.
             18              6.        Most of my visits are two hours. I was told that visits cannot go over
             19     two hours and fifteen minutes. I have never completed a visit that is longer than
             20     three hours. I have worked eight hours in a day with breaks in between my two-
             21     hour visits. I have never worked forty hours in a week or seven consecutive days
             22     in a row.
             23              7.        I do complete multiple visits in a single day. If I do complete
             24     multiple visits, the Papa app forces me to take a mandatory 30-minute break in
             25     between, even if I don’t want or need one.
             26              8.        I am registered to do work for a company called HopSkipDrive,
             27     where I assist with taking children to school. I have not taken a job with them in
             28     the past couple months.
                                                            2                   Case No.: 3:21-cv-06326-RS
                      DECLARATION OF SANDRA RODRIGUEZ IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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               1             9.        I also work with a previous member outside the Papa platform for
               2    ten hours each week. She has Parkinson’s disease, so I assist her with many tasks.
               3    I negotiate the rate for the services I preform with her.
               4             10.       When I am transporting a member somewhere, dropping off the
               5    member and then picking up the member may be scheduled as two separate visits.
               6    This allows me to do anything else I want to during the visits, like picking up my
               7    child from school.
               8             11.       Depending on the type of visit, I may have a significant amount of
               9    downtime. If a visit involves taking a member to a doctor appointment, for
             10     example, I am free to what I want to do. I can and do use this time for my own
             11     personal reasons, to take breaks, to use the restroom, to check my personal email,
             12     to schedule other visits with members, etc. Sometimes the members would like
             13     me to come into the appointment with them, while others do not. Even if there
             14     isn’t obvious downtime, I am able to take a rest break when I feel like it.
             15              12.       I know I can take a rest break—or two—of at least 10 minutes if I
             16     want to no matter the length of my visits. No member has ever tried to interfere
             17     with me taking a rest break, and no employee of Papa has ever told me I could not
             18     take a rest break. Members often encourage me to take breaks during my two-
             19     hour visits. Taking a rest break is completely up to me because I control every
             20     aspect of my visits with a member.
             21              13.       I know I can take a meal break of at least 30 minutes, completely
             22     uninterrupted, if I ever need one. No member has ever tried to interfere with me
             23     taking a meal period. No employee of Papa has ever told me that I could not take
             24     an uninterrupted 30-minute meal period. That said, I have never completed a visit
             25     longer than 5 hours.
             26              14.       I do not clock in and out for meal periods using the app. But I always
             27     take meal periods when needed. The Papa application data would not be an
             28     accurate reflection of whether I took a meal period on any given day.
                                                            3                   Case No.: 3:21-cv-06326-RS
                      DECLARATION OF SANDRA RODRIGUEZ IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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               1             15.       I use my car to get to members. I do drive as part of the visits that I
               2    complete with members.
               3             16.       I call members to confirm a visit in advance of the visits I complete.
               4             17.       I do not incur expenses being a Pal. I use my phone to access the
               5    application and get paid, but I do not use it to be a Pal. It takes me only a couple
               6    minutes to access the application.
               7             18.       I am on a family plan for my cellular phone.
               8             19.       I am a Preferred Pal for many members. I have been with many
               9    members since I started as a Pal.
             10              20.       I sometimes see members outside of the Papa platform. This usually
             11     happens when the member runs out of insurance-paid visits. When this happens,
             12     the member and I negotiate the rate for any services I perform.
             13              21.       I understand that a class action lawsuit has been filed by a former Pal
             14     claiming that Pals are misclassified as independent contractors and that Pals, like
             15     me, should have been treated like employees. I understand that if the case goes
             16     forward as a class action, I might be included in the class of people who are
             17     involved in the lawsuit. I also understand that making this declaration will not
             18     affect my ability to be included as a member of the class.
             19              22.       I voluntarily make this declaration, of my own free will. I have not
             20     been coerced, pressured, threatened, or promised anything in connection with this
             21     declaration. This declaration was drafted during an interview I had with one of
             22     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
             23     in this declaration are true and based on my interview. I was offered the
             24     opportunity to make any changes that I wanted to this declaration before I signed
             25     it. I understand that the attorney I spoke with represents Papa and is not my
             26     attorney. I also understand that I can speak with any attorney of my choice
             27     concerning this declaration or any other matter. I understand that Papa plans to
             28     use this declaration in its defense of the lawsuit filed against it.
                                                            4                   Case No.: 3:21-cv-06326-RS
                      DECLARATION OF SANDRA RODRIGUEZ IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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               1             23.       I understand that by signing this declaration, I may be asked to
               2    testify as a witness in this case. I also understand that this declaration might go
               3    against my own interests, to the extent that my interests are aligned with the
               4    individuals who filed the lawsuit against Papa claiming they have been
               5    misclassified as independent contractors.
               6             I declare under penalty of perjury under the laws of the State of California
               7    and the United States of America that the foregoing is true and correct.
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               9             Executed on ___________, 2024 at San Diego, California.
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             12                                                  ________________________________
             13                                                             Sandra Rodriguez
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                                                            5                   Case No.: 3:21-cv-06326-RS
                      DECLARATION OF SANDRA RODRIGUEZ IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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                          TAYANAH MILLER (SBN 299123)
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                          Telephone: (415) 655-1277
                 7        millerta@gtlaw.com
                 8        Attorneys for Defendant
                          PAPA, INC.
                 9

                10                                 UNITED STATES DISTRICT COURT
                11                            NORTHERN DISTRICT OF CALIFORNIA
                12        Jennifer Pardo and Evangeline           Case No: 3:21-cv-06326-RS
                          Matthews, individually and on
                13        behalf of all others similarly
                          situated,                               DECLARATION OF NANCY
                14                                                GONZALES IN SUPPORT OF
                                                   Plaintiffs,    DEFENDANT PAPA, INC.’S
                15                                                OPPOSITION TO CLASS
                                 v.                               CERTIFICATION
                16
                          Papa, Inc.,
                17                                                TAC Filed: 9/14/2022
                                                   Defendants.    Trial Date:   Not set
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                                                                1                   Case No.: 3:21-cv-06326-RS
                          DECLARATION OF NANCY GONZALES IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1        I, Nancy Gonzales, declare as follows:
                 2               1.      I worked as Papa Pal in California. I have personal knowledge of the
                 3        facts set forth in this declaration, which are known by me to be true and correct,
                 4        and if called as a witness, I could and would testify competently about the facts in
                 5        this declaration.
                 6               2.      I began working as a Pal around 2022. There was no required
                 7        training to become a Pal, but Papa does have optional materials for Pals to review
                 8        at their discretion.
                 9               3.      I have not worked as a Pal since April 2024 due to personal reasons.
                10               4.      As a Pal, I have helped members with grocery shopping, cleaning,
                11        meal preparation, and going to the store, doctor’s appointments, and the gym.
                12        Being a Pal isn’t like a real job. It’s like spending time with a family friend.
                13               5.      I can choose to visit a member whenever I feel like it. My schedule
                14        varies. I typically complete 2 to 3 visits per week.
                15               6.      Most of my visits are 2 to 4 hours. I have never completed a visit
                16        that is longer than 5 hours. I have never worked over 8 hours in a day, 40 hours in
                17        a week, or seven consecutive days in a row.
                18               7.      I complete multiple visits in a single day. If I do complete multiple
                19        visits, the Papa app forces me to take a mandatory 30-minute break in between,
                20        even if I don’t want or need one.
                21               8.      I also perform work for other app-based companies. Specifically, I
                22        also perform work for Uber and Lyft. Typically, I would start performing work
                23        for Uber and Lyft at 4 a.m. and then would perform a visit or two with Papa later
                24        in the day.
                25               9.      Depending on the type of visit, I may have a significant amount of
                26        downtime. If a visit involves taking a member to a doctor appointment, for
                27        example, I am free to what I want to do. I can and do use this time for my own
                28        personal reasons, to take breaks, to eat, to talk on the phone, etc. Even if there
                                                                2                   Case No.: 3:21-cv-06326-RS
                          DECLARATION OF NANCY GONZALES IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1        isn’t obvious downtime, I am able to take a rest break when I feel like it.
                 2                   10.     I know I can take a rest break—or two—of at least 10 minutes if I
                 3        want to no matter the length of my visits. No member has ever tried to interfere
                 4        with me taking a rest break, and no employee of Papa has ever told me I could not
                 5        take a rest break. Taking a rest break is completely up to me because I control
                 6        every aspect of my visits with a member.
                 7                   11.     I know I can take a meal break of at least 30 minutes, completely
                 8        uninterrupted, if I ever need one. No member has ever tried to interfere with me
                 9        taking a meal period. No employee of Papa has ever told me that I could not take
                10        an uninterrupted 30-minute meal period. That said, I do not usually complete
                11        visits longer than 5 hours.
                12                   12.     On the rare occasion I may have completed a visit longer than 5
                13        hours, I had significant down time and was able to take rest and meal breaks.
                14                   13.     About 20% of my visits end before the allotted time, but I am still
                15        compensated for the full amount of time the member booked. For example, one
                16        time I had a member book an hour with me, but I completed my duties within 20
                17        minutes. I was still compensated for the full hour work.
                18                   14.     I do not clock in and out for meal periods using the app. But I always
                19        take meal periods if I am completing a longer visit. The Papa application data
                20        would not be an accurate reflection of whether I took a meal period on any given
                21        day.
                22                   15.     I use my car to get to members. I do drive as part of the visits that I
                23        complete with members.
                24                   16.     I call members to confirm a visit in advance of the visits I complete.
                25                   17.     I do not incur expenses being a Pal. I use my phone to access the
                26        application and get paid, but I do not use it to be a Pal. I am on a family plan for
                27        my cellular service.
                28        //
                                                                 3                   Case No.: 3:21-cv-06326-RS
                           DECLARATION OF NANCY GONZALES IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                       CLASS CERTIFICATION
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                 1               18.     I understand that a class action lawsuit has been filed by a former Pal
                 2        claiming that Pals are misclassified as independent contractors and that Pals, like
                 3        me, should have been treated like employees. I understand that if the case goes
                 4        forward as a class action, I might be included in the class of people who are
                 5        involved in the lawsuit. I also understand that making this declaration will not
                 6        affect my ability to be included as a member of the class.
                 7               19.     I voluntarily make this declaration, of my own free will. I have not
                 8        been coerced, pressured, threatened, or promised anything in connection with this
                 9        declaration. This declaration was drafted during an interview I had with one of
                10        Papa’s attorneys. The declaration was typed by the attorney, but all the statements
                11        in this declaration are true and based on my interview. I was offered the
                12        opportunity to make any changes that I wanted to this declaration before I signed
                13        it. I understand that the attorney I spoke with represents Papa and is not my
                14        attorney. I also understand that I can speak with any attorney of my choice
                15        concerning this declaration or any other matter. I understand that Papa plans to
                16        use this declaration in its defense of the lawsuit filed against it.
                17               20.     I understand that by signing this declaration, I may be asked to
                18        testify as a witness in this case. I also understand that this declaration might go
                19        against my own interests, to the extent that my interests are aligned with the
                20        individuals who filed the lawsuit against Papa claiming they have been
                21        misclassified as independent contractors.
                22               I declare under penalty of perjury under the laws of the State of California
                23        and the United States of America that the foregoing is true and correct.
                24                                               
                                                                         
                25               Executed on September __, 2024 at _____________________, California.
                26

                27                                                    ________________________________
                28                                                    Nancy Gonzales
                                                                4                   Case No.: 3:21-cv-06326-RS
                          DECLARATION OF NANCY GONZALES IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                8    Attorneys for Defendant
                     PAPA, INC.
                9

              10                                UNITED STATES DISTRICT COURT
              11                            NORTHERN DISTRICT OF CALIFORNIA
              12     Jennifer Pardo and Evangeline             Case No: 3:21-cv-06326-RS
                     Matthews, individually and on
              13     behalf of all others similarly
                     situated,                                 DECLARATION OF ZERINA
              14                                               GACANOVIC IN SUPPORT OF
                                               Plaintiffs,     DEFENDANT PAPA, INC.’S
              15                                               OPPOSITION TO CLASS
                              v.                               CERTIFICATION
              16
                     Papa, Inc.,
              17                                               TAC Filed: 9/14/2022
                                               Defendants.     Trial Date:   Not set
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                                                             1                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF ZERINA GACANOVIC IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                  TO CLASS CERTIFICATION
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                1    I, Zerina Gacanovic, declare as follows:
                2             1.      I work as a Papa Pal in California. I have personal knowledge of the
                3    facts set forth in this declaration, which are known by me to be true and correct,
                4    and if called as a witness, I could and would testify competently about the facts in
                5    this declaration.
                6             2.      I began working as a Pal around October 2022. There was no
                7    required training to become a Pal, but I did review an orientation video that
                8    explained what Papa is, how to use the application, and how Pals are paid as part
                9    of the application process. It only took a few minutes to watch this video.
              10              3.      As a Pal, I have helped members with companionship, cleaning,
              11     cooking, and grocery shopping, among other things. Being a Pal isn’t like a real
              12     job. It’s like spending time with a family friend. I enjoy the companionship and
              13     hope there is a service like this for me one day if I need it. Papa is a life saver; it
              14     helps both members and Pals.
              15              4.      I can choose to visit a member whenever I feel like it. My schedule
              16     varies. I have completed over 200 hours total as a Pal. Until about two months
              17     ago, I worked as a Pal twice a week. This is because I started a new full-time job
              18     as an account manager. I currently work with two members as a Preferred Pal. I
              19     work with them on the weekends. I appreciate the flexibility that working as a Pal
              20     gives me.
              21              5.      Most of my visits are 2 hours. I have never completed a visit that is
              22     longer than 5 hours. I have only completed two visits lasting longer than 3 hours.
              23     I have never worked over 8 hours in a day, 40 hours in a week, or seven
              24     consecutive days in a row.
              25              6.      I occasionally complete multiple visits in a single day. If I do
              26     complete multiple visits, the Papa app forces me to take a mandatory 30-minute
              27     break in between, even if I don’t want or need one.
              28
                                                             2                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF ZERINA GACANOVIC IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                  TO CLASS CERTIFICATION
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                1             7.      I also previously performed work for other app-based companies.
                2    Specifically, I worked for Door Dash, which I stopped doing at the beginning of
                3    this year because I liked working for Papa more.
                4             8.      Depending on the type of visit, I may have a significant amount of
                5    downtime. If a visit involves taking a member to a doctor appointment, for
                6    example, I am free to do what I want to do. I can and do use this time for my own
                7    personal reasons, to take breaks, to eat, to talk on the phone with my daughter,
                8    etc. Even if there isn’t obvious downtime, I am able to take a rest break when I
                9    feel like it.
              10              9.      I know I can take a rest break—or two—of at least 10 minutes if I
              11     want to no matter the length of my visits. No member has ever tried to interfere
              12     with me taking a rest break, and no employee of Papa has ever told me I could not
              13     take a rest break. Taking a rest break is completely up to me because I control
              14     every aspect of my visits with a member.
              15              10.     I know I can take a meal break of at least 30 minutes, completely
              16     uninterrupted, if I ever need one. No member has ever tried to interfere with me
              17     taking a meal period. No employee of Papa has ever told me that I could not take
              18     an uninterrupted 30-minute meal period. That said, I do not usually complete
              19     visits longer than 5 hours.
              20              11.     I do not clock in and out for meal periods using the app. But I always
              21     take meal periods if I am completing a longer visit. The Papa application data
              22     would not be an accurate reflection of whether I took a meal period on any given
              23     day.
              24              12.     I use my personal vehicle to get to members. I do drive as part of the
              25     visits that I complete with members.
              26              13.     I sometimes call members to confirm a visit in advance of the visits I
              27     complete. With the members I have established relationships, I typically do not
              28     call in advance because they know I am coming.
                                                             3                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF ZERINA GACANOVIC IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                  TO CLASS CERTIFICATION
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                1             14.     I do not incur expenses being a Pal. I use my phone to access the
                2    application and get paid, but I do not use it to be a Pal. It only takes me a few
                3    seconds to access the app. I am on a family plan for my cellular service.
                4             15.     I understand that nothing prevents me from negotiating a different
                5    rate with Papa for my visits.
                6             16.     I have never had any issues with being paid by Papa. I am
                7    compensated for the entire time I spend with a member.
                8             17.     I understand that a class action lawsuit has been filed by a former Pal
                9    claiming that Pals are misclassified as independent contractors and that Pals, like
              10     me, should have been treated like employees. I understand that if the case goes
              11     forward as a class action, I might be included in the class of people who are
              12     involved in the lawsuit. I also understand that making this declaration will not
              13     affect my ability to be included as a member of the class.
              14              18.     I voluntarily make this declaration, of my own free will. I have not
              15     been coerced, pressured, threatened, or promised anything in connection with this
              16     declaration. This declaration was drafted during an interview I had with one of
              17     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
              18     in this declaration are true and based on my interview. I was offered the
              19     opportunity to make any changes that I wanted to this declaration before I signed
              20     it. I understand that the attorney I spoke with represents Papa and is not my
              21     attorney. I also understand that I can speak with any attorney of my choice
              22     concerning this declaration or any other matter. I understand that Papa plans to
              23     use this declaration in its defense of the lawsuit filed against it.
              24              19.     I understand that by signing this declaration, I may be asked to
              25     testify as a witness in this case. I also understand that this declaration might go
              26     against my own interests, to the extent that my interests are aligned with the
              27     individuals who filed the lawsuit against Papa claiming they have been
              28     misclassified as independent contractors.
                                                             4                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF ZERINA GACANOVIC IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                  TO CLASS CERTIFICATION
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                1             I declare under penalty of perjury under the laws of the State of California
                2    and the United States of America that the foregoing is true and correct.
                3

                4             Executed on _________________,
                                                    2024 at _____________________,
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                5    California.
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                                                             5                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF ZERINA GACANOVIC IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                  TO CLASS CERTIFICATION
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                8     Attorneys for Defendant
                      PAPA, INC.
                9

               10                                UNITED STATES DISTRICT COURT
               11                            NORTHERN DISTRICT OF CALIFORNIA
               12     Jennifer Pardo and Evangeline              Case No: 3:21-cv-06326-RS
                      Matthews, individually and on
               13     behalf of all others similarly
                      situated,                                  DECLARATION OF CASSIE KING
               14                                                IN SUPPORT OF DEFENDANT
                                                Plaintiffs,      PAPA, INC.’S OPPOSITION TO
               15                                                CLASS CERTIFICATION
                              v.
               16
                      Papa, Inc.,                                TAC Filed: 9/14/2022
               17                                                Trial Date:   Not set
                                                Defendants.
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                                                               1                    Case No.: 3:21-cv-06326-RS
                      DECLARATION OF CASSIE KING IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO CLASS
                                                        CERTIFICATION
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                1     I, Cassie King, declare as follows:
                2             1.       I work as a Papa Pal in California. I have personal knowledge of the
                3     facts set forth in this declaration, which are known by me to be true and correct,
                4     and if called as a witness, I could and would testify competently about the facts in
                5     this declaration.
                6             2.       I began working as a Pal around 11 months ago.
                7             3.       As a Pal, I have helped members with companionship, cleaning,
                8     grocery shopping, taking them to the gym, calendaring appointments, and
                9     laundry. Being a Pal isn’t like a real job. It’s like spending time with a family
               10     friend. I enjoy the companionship and hope there is a service like this for me one
               11     day if I need it. I have developed strong relationships with the members I work
               12     with, and I am a Preferred Pal for all members I work with.
               13             4.       I can choose to visit a member whenever I feel like it. My schedule
               14     varies. I typically complete eight visits per month. I have not completed visits in
               15     the last two months due to family matters. I appreciate the flexibility that working
               16     as a Pal gives me.
               17             5.       Most of my visits are 3 hours. I have never completed a visit that is
               18     longer than 5 hours. I have never worked over 8 hours in a day, 40 hours in a
               19     week, or seven consecutive days in a row.
               20             6.       I have never had any issues with being paid by Papa.
               21             7.       I occasionally complete multiple visits in a single day. If I do
               22     complete multiple visits, the Papa app forces me to take a mandatory 30-minute
               23     break in between, even if I don’t want or need one.
               24             8.       I also perform work for other app-based companies. Specifically, for
               25     Uber, Lyft, and Angi. Additionally, I work as an independent contractor
               26     performing in-home supportive services.
               27             9.       I also have my own cleaning services company.
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                                                               2                    Case No.: 3:21-cv-06326-RS
                      DECLARATION OF CASSIE KING IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO CLASS
                                                        CERTIFICATION
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                1             10.      Depending on the type of visit, I may have a significant amount of
                2     downtime. If a visit involves taking a member grocery shopping, for example, I
                3     am free to do what I want to do. I can take a break, talk on the phone, etc. Even if
                4     there isn’t obvious downtime, I am able to take a rest break when I feel like it.
                5             11.      I know I can take a rest break—or two—of at least 10 minutes if I
                6     want to no matter the length of my visits. No member has ever tried to interfere
                7     with me taking a rest break, and no employee of Papa has ever told me I could not
                8     take a rest break. Taking a rest break is completely up to me because I control
                9     every aspect of my visits with a member.
               10             12.      I know I can take a meal break of at least 30 minutes, completely
               11     uninterrupted, if I ever need one. No member has ever tried to interfere with me
               12     taking a meal period. No employee of Papa has ever told me that I could not take
               13     an uninterrupted 30-minute meal period. That said, I have never completed visits
               14     longer than 5 hours.
               15             13.      I use my personal vehicle to get to members. I do drive as part of the
               16     visits that I complete with members.
               17             14.      I call members to confirm a visit in advance of the visits I complete.
               18             15.      I use my phone to access the application and get paid, but I do not
               19     use it to be a Pal. It takes me a couple seconds to access the application. I am on a
               20     family plan for my cellular service.
               21             16.      I understand that nothing prevents me from negotiating a different
               22     rate with Papa for my visits.
               23             17.      I understand that a class action lawsuit has been filed by a former Pal
               24     claiming that Pals are misclassified as independent contractors and that Pals, like
               25     me, should have been treated like employees. I understand that if the case goes
               26     forward as a class action, I might be included in the class of people who are
               27     involved in the lawsuit. I also understand that making this declaration will not
               28     affect my ability to be included as a member of the class.
                                                               3                    Case No.: 3:21-cv-06326-RS
                      DECLARATION OF CASSIE KING IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO CLASS
                                                        CERTIFICATION
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                1             18.      I voluntarily make this declaration, of my own free will. I have not
                2     been coerced, pressured, threatened, or promised anything in connection with this
                3     declaration. This declaration was drafted during an interview I had with one of
                4     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
                5     in this declaration are true and based on my interview. I was offered the
                6     opportunity to make any changes that I wanted to this declaration before I signed
                7     it. I understand that the attorney I spoke with represents Papa and is not my
                8     attorney. I also understand that I can speak with any attorney of my choice
                9     concerning this declaration or any other matter. I understand that Papa plans to
               10     use this declaration in its defense of the lawsuit filed against it.
               11             19.      I understand that by signing this declaration, I may be asked to
               12     testify as a witness in this case. I also understand that this declaration might go
               13     against my own interests, to the extent that my interests are aligned with the
               14     individuals who filed the lawsuit against Papa claiming they have been
               15     misclassified as independent contractors.
               16             I declare under penalty of perjury under the laws of the State of California
               17     and the United States of America that the foregoing is true and correct.
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               19             Executed on _______________, 2024 at _____________________,
               20     California.
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                                                               4                    Case No.: 3:21-cv-06326-RS
                      DECLARATION OF CASSIE KING IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO CLASS
                                                        CERTIFICATION
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                      Telephone: (415) 655-1277
                 7    millerta@gtlaw.com
                 8    Attorneys for Defendant
                      PAPA, INC.
                 9

               10                                 UNITED STATES DISTRICT COURT
               11                              NORTHERN DISTRICT OF CALIFORNIA
               12     Jennifer Pardo and Evangeline             Case No: 3:21-cv-06326-RS
                      Matthews, individually and on
               13     behalf of all others similarly
                      situated,                                 DECLARATION OF JENNIFER
               14                                               MARTIN IN SUPPORT OF
                                                 Plaintiffs,    DEFENDANT PAPA, INC.’S
               15                                               OPPOSITION TO CLASS
                               v.                               CERTIFICATION
               16
                      Papa, Inc.,
               17                                               TAC Filed: 9/14/2022
                                                 Defendants.    Trial Date:   Not set
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                                                              1                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNIFER MARTIN IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1    I, Jennifer Martin, declare as follows:
                 2             1.       I work as a Papa Pal in California. I have personal knowledge of the
                 3    facts set forth in this declaration, which are known by me to be true and correct,
                 4    and if called as a witness, I could and would testify competently about the facts in
                 5    this declaration.
                 6             2.       I began working as a Pal over a year ago. There was no required
                 7    training to become a Pal, but I did review an orientation video that explained what
                 8    Papa is, how to use the application, and how Pals are paid as part of the
                 9    application process.
               10              3.       As a Pal, I have helped members with companionship, cleaning,
               11     organization, and grocery shopping, among other things. Being a Pal isn’t like a
               12     real job. It’s like spending time with a family friend. I enjoy the companionship
               13     and hope there is a service like this for me one day if I need it.
               14              4.       I can choose to visit a member whenever I feel like it. My schedule
               15     varies. I have completed over 100 visits. I currently work with four members as a
               16     Preferred Pal. Every other week, I complete visits 5 days a week.
               17              5.       Most of my visits are 2 to 4 hours. I have never completed a visit
               18     that is longer than 5 hours. I have never worked over 8 hours in a day, 40 hours in
               19     a week, or seven consecutive days in a row.
               20              6.       I complete multiple visits in a single day. If I do complete multiple
               21     visits, the Papa app forces me to take a mandatory 30-minute break in between,
               22     even if I don’t want or need one.
               23              7.       Depending on the type of visit, I may have a significant amount of
               24     downtime. If a visit involves taking a member to a doctor appointment, for
               25     example, I understand I can use this time for my own personal reasons, to take
               26     breaks, to eat, to talk on the phone, etc. Even if there isn’t obvious downtime, I
               27     am able to take a rest break when I feel like it.
               28
                                                              2                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNIFER MARTIN IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1             8.       I know I can take a rest break—or two—of at least 10 minutes if I
                 2    want to no matter the length of my visits. No member has ever tried to interfere
                 3    with me taking a rest break, and no employee of Papa has ever told me I could not
                 4    take a rest break. Taking a rest break is completely up to me because I control
                 5    every aspect of my visits with a member.
                 6             9.       I know I can take a meal break of at least 30 minutes, completely
                 7    uninterrupted, if I ever need one. No member has ever tried to interfere with me
                 8    taking a meal period. No employee of Papa has ever told me that I could not take
                 9    an uninterrupted 30-minute meal period. That said, I do not usually complete
               10     visits longer than 5 hours.
               11              10.      I do not clock in and out for meal periods using the app. But I always
               12     take meal periods if I am completing a longer visit. The Papa application data
               13     would not be an accurate reflection of whether I took a meal period on any given
               14     day.
               15              11.      I use my personal vehicle to get to members. I do drive as part of the
               16     visits that I complete with members.
               17              12.      I sometimes call members to confirm a visit in advance of the visits I
               18     complete. With the members I have established relationships, I do not call in
               19     advance because the schedule is set.
               20              13.      I use my phone to access the application and get paid, but I do not
               21     use it to be a Pal. It only takes me a few seconds to access the app. I am on a
               22     family plan for my cellular service.
               23              14.      I understand that I could use free internet available at a library or
               24     coffee stop to access the Papa application, but I choose to access the application
               25     using my own internet/cellular plan for my own convenience.
               26              15.      I always provide feedback after a visit, but I understand I am not
               27     required to do so.
               28
                                                              3                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNIFER MARTIN IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1             16.      I understand that the Visit Standards are not requirements. I used to
                 2    view them before visits, but now I do not.
                 3             17.      I have never had any issues with being paid by Papa. I am
                 4    compensated for the entire time I spend with a member.
                 5             18.      I understand that a class action lawsuit has been filed by a former Pal
                 6    claiming that Pals are misclassified as independent contractors and that Pals, like
                 7    me, should have been treated like employees. I understand that if the case goes
                 8    forward as a class action, I might be included in the class of people who are
                 9    involved in the lawsuit. I also understand that making this declaration will not
               10     affect my ability to be included as a member of the class.
               11              19.      I voluntarily make this declaration, of my own free will. I have not
               12     been coerced, pressured, threatened, or promised anything in connection with this
               13     declaration. This declaration was drafted during an interview I had with one of
               14     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
               15     in this declaration are true and based on my interview. I was offered the
               16     opportunity to make any changes that I wanted to this declaration before I signed
               17     it. I understand that the attorney I spoke with represents Papa and is not my
               18     attorney. I also understand that I can speak with any attorney of my choice
               19     concerning this declaration or any other matter. I understand that Papa plans to
               20     use this declaration in its defense of the lawsuit filed against it.
               21              20.      I understand that by signing this declaration, I may be asked to
               22     testify as a witness in this case. I also understand that this declaration might go
               23     against my own interests, to the extent that my interests are aligned with the
               24     individuals who filed the lawsuit against Papa claiming they have been
               25     misclassified as independent contractors.
               26              I declare under penalty of perjury under the laws of the State of California
               27     and the United States of America that the foregoing is true and correct.
               28
                                                              4                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNIFER MARTIN IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1             Executed on ____________________, 2024 at _____________________,
                 2    California.
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                 4                                                         Jennifer Martin
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                                                              5                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNIFER MARTIN IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 8     Attorneys for Defendant
                       PAPA, INC.
                 9

                10                                 UNITED STATES DISTRICT COURT
                11                            NORTHERN DISTRICT OF CALIFORNIA
                12     Jennifer Pardo and Evangeline             Case No: 3:21-cv-06326-RS
                       Matthews, individually and on
                13     behalf of all others similarly
                       situated,                                 DECLARATION OF MARSI HANEY
                14                                               IN SUPPORT OF DEFENDANT
                                                   Plaintiffs,   PAPA, INC.’S OPPOSITION TO
                15                                               CLASS CERTIFICATION
                                v.
                16
                       Papa, Inc.,                               TAC Filed: 9/14/2022
                17                                               Trial Date:   Not set
                                                   Defendants.
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                                                               1                    Case No.: 3:21-cv-06326-RS
                          DECLARATION OF MARSI HANEY IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1     I, Marsi Haney, declare as follows:
                 2              1.        I work as a Papa Pal in California. I have personal knowledge of the
                 3     facts set forth in this declaration, which are known by me to be true and correct,
                 4     and if called as a witness, I could and would testify competently about the facts in
                 5     this declaration.
                 6              2.        I have been a Pal for almost two years and have completed over 100
                 7     visits. When I first started working as a Pal, I picked up a lot of visits. Now, I
                 8     work as a grant writer part-time, so I typically complete 4 visits per month. I can
                 9     choose to visit a member whenever I feel like it.
                10              3.        There was no required training to become a Pal.
                11              4.        As a Pal, I have helped members with companionship, cleaning,
                12     laundry, walking their dogs, cooking, and grocery shopping, among other things.
                13     I appreciate the flexibility being a Pal gives me; I am able to schedule visits that
                14     best fit my schedule.
                15              5.        I currently work as a Preferred Pal for some members.
                16              6.        I have received additional/bonus pay for certain visits. For example,
                17     I worked with a member that was perceived as difficult by other Pals. I received
                18     additional pay for taking visits with this member.
                19              7.        Most of my visits are 2 hours. I have never completed a visit that is
                20     longer than 3 hours or 5 hours. I have never worked over 8 hours in a day, 40
                21     hours in a week, or seven consecutive days in a row.
                22              8.        I complete multiple visits in a single day. If I do complete multiple
                23     visits, the Papa app forces me to take a mandatory 30-minute break in between,
                24     even if I don’t want or need one.
                25              9.        I often have a significant amount of downtime during visits. For
                26     example, if I am providing cleaning services, I keep my phone with me while I
                27     am working. I would be allowed to answer a phone call, check my phone, use the
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                                                               2                    Case No.: 3:21-cv-06326-RS
                          DECLARATION OF MARSI HANEY IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1     restroom, get some water, etc. Even if there isn’t obvious downtime, I am able to
                 2     take a rest break when I feel like it.
                 3              10.       I know I can take a rest break—or two—of at least 10 minutes if I
                 4     want to no matter the length of my visits. No member has ever tried to interfere
                 5     with me taking a rest break, and no employee of Papa has ever told me I could not
                 6     take a rest break. Taking a rest break is completely up to me because I control
                 7     every aspect of my visits with a member.
                 8              11.       I know I can take a meal break of at least 30 minutes, completely
                 9     uninterrupted, if I ever need one. No member has ever tried to interfere with me
                10     taking a meal period. No employee of Papa has ever told me that I could not take
                11     an uninterrupted 30-minute meal period. That said, I do not usually complete
                12     visits longer than 5 hours.
                13              12.       I do not clock in and out for meal periods using the app. But I always
                14     take meal periods if I am completing a longer visit. The Papa application data
                15     would not be an accurate reflection of whether I took a meal period on any given
                16     day.
                17              13.       I use my personal vehicle to get to members and I drive as part of the
                18     visits that I complete with members.
                19              14.       I sometimes call members to confirm a visit in advance of the visits I
                20     complete. This depends on whether I have an existing relationship with the
                21     member. With members I work with regularly, I do not call them to confirm, but I
                22     may text them to let them know that I am coming.
                23              15.       I do not incur expenses being a Pal, other than mileage, but I am
                24     compensated for the time I spend driving a member somewhere.
                25              16.       I use my phone to access the application and get paid, but I do not
                26     use it to be a Pal. It only takes me a few seconds to access the app.
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                                                               3                    Case No.: 3:21-cv-06326-RS
                          DECLARATION OF MARSI HANEY IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1              17.       I understand that I could use free internet at library or a coffee shop
                 2     to access the application. I choose to access the application using my cellular plan
                 3     for my own convenience. I am on a family plan for my cellular service.
                 4              18.       I have never had any issues with being paid by Papa. I am
                 5     compensated for the entire time I spend with a member.
                 6              19.       I usually provide feedback after a visit with a member. However,
                 7     there have been times I have not done so. I have never been disciplined by Papa
                 8     for not submitting visit feedback.
                 9              20.       I typically do not review Visit Requirements before visits, and I do
                10     not believe it is required to review them.
                11              21.       I understand that a class action lawsuit has been filed by a former Pal
                12     claiming that Pals are misclassified as independent contractors and that Pals, like
                13     me, should have been treated like employees. I understand that if the case goes
                14     forward as a class action, I might be included in the class of people who are
                15     involved in the lawsuit. I also understand that making this declaration will not
                16     affect my ability to be included as a member of the class.
                17              22.       I voluntarily make this declaration, of my own free will. I have not
                18     been coerced, pressured, threatened, or promised anything in connection with this
                19     declaration. This declaration was drafted during an interview I had with one of
                20     Papa’s attorneys. The declaration was typed by the attorney, but all the statements
                21     in this declaration are true and based on my interview. I was offered the
                22     opportunity to make any changes that I wanted to this declaration before I signed
                23     it. I understand that the attorney I spoke with represents Papa and is not my
                24     attorney. I also understand that I can speak with any attorney of my choice
                25     concerning this declaration or any other matter. I understand that Papa plans to
                26     use this declaration in its defense of the lawsuit filed against it.
                27              23.       I understand that by signing this declaration, I may be asked to
                28     testify as a witness in this case. I also understand that this declaration might go
                                                               4                    Case No.: 3:21-cv-06326-RS
                          DECLARATION OF MARSI HANEY IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 1     against my own interests, to the extent that my interests are aligned with the
                 2     individuals who filed the lawsuit against Papa claiming they have been
                 3     misclassified as independent contractors.
                 4              I declare under penalty of perjury under the laws of the State of California
                 5     and the United States of America that the foregoing is true and correct.
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                 7              Executed on 
                                            ___________________, 2024 at _____________________,
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                 8     California.
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                12                                                         Marsi Haney
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                                                               5                    Case No.: 3:21-cv-06326-RS
                          DECLARATION OF MARSI HANEY IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                      CLASS CERTIFICATION
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                 8     Attorneys for Defendant
                       PAPA, INC.
                 9

               10                               UNITED STATES DISTRICT COURT
               11                            NORTHERN DISTRICT OF CALIFORNIA
               12      Jennifer Pardo and Evangeline            Case No: 3:21-cv-06326-RS
                       Matthews, individually and on
               13      behalf of all others similarly
                       situated,                                DECLARATION OF JENNY
               14                                               MARADIAGA IN SUPPORT OF
                                               Plaintiffs,      DEFENDANT PAPA, INC.’S
               15                                               OPPOSITION TO CLASS
                                v.                              CERTIFICATION
               16
                       Papa, Inc.,
               17                                               TAC Filed: 9/14/2022
                                                Defendants.     Trial Date:   Not set
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                                                             1                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNY MARADIAGA IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1    I, JENNY MARADIAGA, declare as follows:
                 2              1.      I work as a Papa Pal in California. I have personal knowledge of the
                 3    facts set forth in this declaration, which are known by me to be true and correct,
                 4    and if called as a witness, I could and would testify competently about the facts in
                 5    this declaration.
                 6              2.      I began working as a Pal around November 2023. I have completed
                 7    approximately 190 visits total.
                 8              3.      As a Pal, I have helped members with companionship, cleaning, and
                 9    grocery shopping. Being a Pal isn’t like a real job. It’s like spending time with a
               10     family friend. I enjoy the companionship and hope there is a service like this for
               11     me one day if I need it.
               12               4.      Being a Pal is an avenue for friendship and it means way more to me
               13     than the money.
               14               5.      I can choose to visit a member whenever I feel like it. My schedule
               15     varies. I typically complete 20 visits per month.
               16               6.      Most of my visits are under 3 hours. I have never completed a visit
               17     that is longer than 5 hours. I have only completed one visit over 3 hours. I have
               18     never worked over 8 hours in a day, 40 hours in a week, or seven consecutive
               19     days in a row. It would be impossible for me to work 8 hours in a day for Papa, as
               20     there are not enough visits available.
               21               7.      I do complete multiple visits in a single day. If I complete multiple
               22     visits in a day, I receive a bonus. Additionally, if I do complete multiple visits, the
               23     Papa app forces me to take a mandatory 30-minute break in between, even if I
               24     don’t want or need one. The app does not allow me to schedule another visit
               25     during this 30-minute break.
               26               8.      I also perform work for a local school district.
               27               9.      Depending on the type of visit, I may have a significant amount of
               28     downtime. If a visit involves taking a member to a doctor appointment, for
                                                             2                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNY MARADIAGA IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1    example, I am free to what I want to do. I can and do use this time for my own
                 2    personal reasons, to take breaks, to eat, to talk on the phone, etc. Even if there
                 3    isn’t obvious downtime, I am able to take a rest break when I feel like it.
                 4              10.     I know I can take a rest break—or two—of at least 10 minutes if I
                 5    want to no matter the length of my visits. No member has ever tried to interfere
                 6    with me taking a rest break, and no employee of Papa has ever told me I could not
                 7    take a rest break. Taking a rest break is completely up to me because I control
                 8    every aspect of my visits with a member.
                 9              11.     I know I can take a meal break of at least 30 minutes, completely
               10     uninterrupted, if I ever need one. No member has ever tried to interfere with me
               11     taking a meal period. No employee of Papa has ever told me that I could not take
               12     an uninterrupted 30-minute meal period. That said, I do not usually complete
               13     visits longer than 5 hours.
               14               12.     I do not clock in and out for meal periods using the app. But I always
               15     take meal periods if I am completing a longer visit. The Papa application data
               16     would not be an accurate reflection of whether I took a meal period on any given
               17     day.
               18               13.     I use my personal vehicle to get to members. I do drive as part of the
               19     visits that I complete with members.
               20               14.     I call members to confirm a visit in advance of the visits I complete.
               21     I am on a family plan for my cellular service.
               22               15.     I use my phone to access the application and get paid, but I do not
               23     use it to be a Pal. It takes me a couple of minutes to access the application.
               24               16.     I understand that nothing prevents me from negotiating a different
               25     rate with Papa for my visits.
               26               17.     I understand that a class action lawsuit has been filed by a former Pal
               27     claiming that Pals are misclassified as independent contractors and that Pals, like
               28     me, should have been treated like employees. I understand that if the case goes
                                                             3                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNY MARADIAGA IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                 1    forward as a class action, I might be included in the class of people who are
                 2    involved in the lawsuit. I also understand that making this declaration will not
                 3    affect my ability to be included as a member of the class.
                 4              18.    I voluntarily make this declaration, of my own free will. I have not
                 5    been coerced, pressured, threatened, or promised anything in connection with this
                 6    declaration. This declaration was drafted during an interview I had with one of
                 7    Papa’s attorneys. The declaration was typed by the attorney, but all the statements
                 8    in this declaration are true and based on my interview. I was offered the
                 9    opportunity to make any changes that I wanted to this declaration before I signed
               10     it. I understand that the attorney I spoke with represents Papa and is not my
               11     attorney. I also understand that I can speak with any attorney of my choice
               12     concerning this declaration or any other matter. I understand that Papa plans to
               13     use this declaration in its defense of the lawsuit filed against it.
               14               19.    I understand that by signing this declaration, I may be asked to
               15     testify as a witness in this case. I also understand that this declaration might go
               16     against my own interests, to the extent that my interests are aligned with the
               17     individuals who filed the lawsuit against Papa claiming they have been
               18     misclassified as independent contractors.
               19               I declare under penalty of perjury under the laws of the State of California
               20     and the United States of America that the foregoing is true and correct.
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               22               Executed on _________________,
                                             6HSWHPEHU  2024 at _____________________,
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               23     California.
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                                                             4                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF JENNY MARADIAGA IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION TO
                                                    CLASS CERTIFICATION
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                      Telephone: (415) 655-1277
                7     millerta@gtlaw.com
                8     Attorneys for Defendant
                      PAPA, INC.
                9

               10                               UNITED STATES DISTRICT COURT
               11                            NORTHERN DISTRICT OF CALIFORNIA
               12     Jennifer Pardo and Evangeline            Case No: 3:21-cv-06326-RS
                      Matthews, individually and on
               13     behalf of all others similarly
                      situated,                                DECLARATION OF MAKAYLA
               14                                              JOHNSON IN SUPPORT OF
                                               Plaintiffs,     DEFENDANT PAPA, INC.’S
               15                                              OPPOSITION TO CLASS
                              v.                               CERTIFICATION
               16
                      Papa, Inc.,
               17                                              TAC Filed: 9/14/2022
                                                Defendants.    Trial Date:   Not set
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                                                            1                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF MAKAYLA JOHNSON IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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                1    I, Makayla Johnson, declare as follows:
                2             1.       I work as a Papa Pal in California. I have personal knowledge of the
                3    facts set forth in this declaration, which are known by me to be true and correct,
                4    and if called as a witness, I could and would testify competently about the facts in
                5    this declaration.
                6             2.       I have been working as a Pal for over a year. There was no required
                7    training to become a Pal.
                8             3.       As a Pal, I have helped members with companionship, cleaning,
                9    cooking, taking members to appointments, and grocery shopping, among other
               10    things.
               11             4.       I can choose to visit a member whenever I feel like it. My schedule
               12    varies. I have completed over 50 visits. I used to work as a Pal multiple times a
               13    week, but now I work less. I appreciate the flexibility that working as a Pal gives
               14    me.
               15             5.       I am a Preferred Pal for all the members I work with.
               16             6.       Most of my visits are 1 to 2 hours. I have never completed a visit
               17    that is longer than 5 hours. I have never worked over 8 hours in a day, 40 hours in
               18    a week, or seven consecutive days in a row.
               19             7.       I occasionally complete multiple visits in a single day. If I do
               20    complete multiple visits, the Papa app forces me to take a mandatory 30-minute
               21    break in between, even if I don’t want or need one.
               22             8.       Depending on the type of visit, I may have a significant amount of
               23    downtime. If a visit involves taking a member to a doctor appointment, for
               24    example, I understand that I am free to what I want to do. I may use this time for
               25    my own personal reasons, to take breaks, to eat, to check my phone, etc. Even if
               26    there isn’t obvious downtime, I am able to take a rest break when I feel like it.
               27             9.       I know I can take a rest break—or two—of at least 10 minutes if I
               28    want to no matter the length of my visits. No member has ever tried to interfere
                                                            2                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF MAKAYLA JOHNSON IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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                1    with me taking a rest break, and no employee of Papa has ever told me I could not
                2    take a rest break. Taking a rest break is completely up to me because I control
                3    every aspect of my visits with a member.
                4             10.      I know I can take a meal break of at least 30 minutes, completely
                5    uninterrupted, if I ever need one. No member has ever tried to interfere with me
                6    taking a meal period. Members encourage me to take breaks. No employee of
                7    Papa has ever told me that I could not take an uninterrupted 30-minute meal
                8    period. That said, I do not usually complete visits longer than 5 hours.
                9             11.      I do not clock in and out for meal periods using the app. But I always
               10    take meal periods if I am completing a longer visit. The Papa application data
               11    would not be an accurate reflection of whether I took a meal period on any given
               12    day.
               13             12.      I use my personal vehicle to get to members. I do drive as part of the
               14    visits that I complete with members.
               15             13.      I sometimes call members to confirm a visit in advance of the visits I
               16    complete. With the members I have established relationships, I typically do not
               17    call in advance because they know I am coming.
               18             14.      I use my phone to access the application and get paid, but I do not
               19    use it to be a Pal. It only takes me a few seconds to access the app. I am on a
               20    family plan for my cellular service.
               21             15.      I have seen members outside of the Papa platform and they have paid
               22    me for my services directly. For example, I once drove a member home from the
               23    hospital. I did not do this service through Papa.
               24             16.      I have never had any issues with being paid by Papa. I am
               25    compensated for the entire time I spend with a member.
               26             17.       I understand I could use free internet at a library or coffee shop, but
               27    I choose to access the app using my own cellular plan for my own convenience.
               28
                                                            3                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF MAKAYLA JOHNSON IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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                1             18.      I usually provide feedback after a visit, but it would not be an issue if
                2    I did not provide feedback.
                3             19.      I do not review the visit standards before starting a visit.
                4             20.      I understand that a class action lawsuit has been filed by a former Pal
                5    claiming that Pals are misclassified as independent contractors and that Pals, like
                6    me, should have been treated like employees. I understand that if the case goes
                7    forward as a class action, I might be included in the class of people who are
                8    involved in the lawsuit. I also understand that making this declaration will not
                9    affect my ability to be included as a member of the class.
               10             21.      I voluntarily make this declaration, of my own free will. I have not
               11    been coerced, pressured, threatened, or promised anything in connection with this
               12    declaration. This declaration was drafted during an interview I had with one of
               13    Papa’s attorneys. The declaration was typed by the attorney, but all the statements
               14    in this declaration are true and based on my interview. I was offered the
               15    opportunity to make any changes that I wanted to this declaration before I signed
               16    it. I understand that the attorney I spoke with represents Papa and is not my
               17    attorney. I also understand that I can speak with any attorney of my choice
               18    concerning this declaration or any other matter. I understand that Papa plans to
               19    use this declaration in its defense of the lawsuit filed against it.
               20             22.      I understand that by signing this declaration, I may be asked to
               21    testify as a witness in this case. I also understand that this declaration might go
               22    against my own interests, to the extent that my interests are aligned with the
               23    individuals who filed the lawsuit against Papa claiming they have been
               24    misclassified as independent contractors.
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                                                            4                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF MAKAYLA JOHNSON IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
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                1             I declare under penalty of perjury under the laws of the State of California
                2    and the United States of America that the foregoing is true and correct.
                3

                4             Executed on September _________,
                                                                        
                                                               2024 at __________________,
                5    California.                            [Day]                        [City]
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                8                                             ______________________________
                9                                                    Makayla Johnson
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                                                            5                   Case No.: 3:21-cv-06326-RS
                       DECLARATION OF MAKAYLA JOHNSON IN SUPPORT OF DEFENDANT PAPA, INC.’S OPPOSITION
                                                 TO CLASS CERTIFICATION
